                                                                          E-FILED
                                                                          FEBRUARY 01, 2021
 i                                                                        9:20 AM
 2
                                                                          KAY MORIM
                                                                          FRANKLIN COUNTY CLERK
 3

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 7

 8              SUPERIOR COURT OF WASHINGTON IN AND FOR FRANKLIN COUNTY

 9   WASHINGTON TRUST BANK, a
     Washington banking corporation,
10                                                             NO.    21-2-5C049-11
                                             Plaintiff,
11                                                             DECLARATION OF CLAIRE BAKER IN
                v.                                             SUPPORT OF MOTION TO APPOINT A
12                                                             RECEIVER
     EASTERDAY RANCHES, INC., a
13   Washington corporation; EASTERDAY
     FARMS, a Washington general partnership;
14   CODY EASTERDAY, individually; DERBY
     EASTERDAY, individually; KAREN
15   EASTERDAY, individually and in her capacity
     as personal representative of the Estate of Gale
16   Easterday,

17                                        Defendants.

18

19              1, CLAIRE M. BAKER, hereby make the following declaration:

20              1.      1 am over the age of eighteen, not a party hereto, competent to testify as to the

21
     matters set forth herein, and I make this declaration based upon my own personal knowledge.
22
                2.      1 am Vice President Special Assets Team Lead at Washington Trust Bank and I
23
     am familiar with this matter.
24

25


                                                                                              LAW OFFICES OF

                                                                                      LUKINS & ANNIS, PS
                                                                                   A PROFESSIONAL SERVKCE CORPOfi ATJON
                                                                                         717 W Sprague A«. . Su«e 1600

     DECLARATION OF CLAIRE M. BAKER IN SUPPORT                                                Spduac, WA 99201
                                                                                           Telephone: (509) 455-9555
                                                                                              Fa* (509) 747-2 J2J
     OF MOTION TO APPOINT A RECEIVER:                     1


     0191513) 1/29/21




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 1                 3.   Attached hereto as Exhibit A is a true and correct copy of the Promissory Note

 2   executed by Easterday Ranches, Inc. ("Ranches") and the general partners of Easterday Farms,
 3
     a general partnership ("Farms").

 4
                   4.   Attached hereto as Exhibit B is a true and correct copy of the Agricultural
 5
     Security Agreements executed by Ranches and Farms and true and correct copies of evidence
 6             '                         '                                                '
 _   (UCC Financing Statements) showing that Washington Trust Bank ("WTB") duly perfected its


 g   security interest in the collateral identified therein.


 9                 5.   Attached hereto as Exhibit C is a true and correct copy of the Notice of Default


^    that WTB caused its counsel to send to Ranches and Farms.
11
                   6.   As of January 29, 2021, the amount owing on the Promissory Note attached
12
     hereto as Exhibit A was $44,709,543.1 1 in principal, $134,703.21 in accrued unpaid interest,
13
     plus attorneys' fees and costs.
14

                   7.   It is my understanding that Ranches and Farms are presently in possession of
15

16   crop inventory. WTB has a senior security interest in that crop inventory and is concerned that

17   this collateral is presently in danger due to, among other things, the conduct that is the subject

18
     of a lawsuit brought by Tyson Fresh Meats, Inc. against Ranches.

19
               I hereby declare under penalty of perjury of the laws of the State of Washington that the
20
     foregoing is true and correct to the best of my knowledge and belief.
21

22
               EXECUTED this 29th day of January, 2021 , at Spokane, Washington,
23

24
                                                                      c           y
25                                                                   CLAIRE       BAKER


                                                                                              LAW OFFICES OP

                                                                                    LUKINS & ANMS,
                                                                                                "l1PS
                                                                                                    w
                                                                                 A PKO hSSlQJNAL SEKV1CE CO KPORATION
                                                                                       7|7 W Sprstw: Ave,. Suite 1600

     DECLARATION OF CLAIRE M. BAKER IN SUPPORT                                              Spokane. WA -M201
                                                                                         Teleplwwe: (509) 455-9555
                                                                                              Fax   (509)747-2323
     OF MOTION TO APPOINT A RECEIVER: 2


     owsui   1/29/21




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 1
                                     CERTIFICATE OF SERVICE
 2

 3
                   I HEREBY CERTIFY that on the 29th day of January 2021, 1 caused to be served a true
 4
      and correct copy of the foregoing by the method indicated below, and addressed to all counsel
      of record as follows:
 5

 6    Cody Easterday                                                  U.S. Mail
      5235 N Industrial Way                                          Hand Delivered
 7    Pasco, WA, WA 99301                                            Overnight Mail
      cody@easterdavfarins.com                                       Telecopy (FAX)
 8
                                                                     Via email

 9
      Peter Richter                                                  U.S. Mail
10    Peter Richter:                                                 Hand Delivered
     200 South Wacker Drive, 31st Floor                              Overnight Mail
11   Chicago, IL 60606                                               Telecopy (FAX)
     prichtcr@paladinmgmt.com                                        Via email
12

13
                                                                     U.S. Mail
14   R. Crane Bcrgdahl                                               Hand Delivered
     6119 Burden Blvd., Suite A                                      Overnight Mail
15   Pasco, WA 99301                                                 Telecopy (FAX)
     P.O. Box 2755                                            0      Via email
16
     Pasco, WA 99302

17   cranelaw@msn.com                                                U.S. Mail
                                                                     Hand Delivered
18   CHS Capital, LLC dba CHSC NM                             m      Overnight Mail
     5500 Cenex Dr.                                                  Telecopy (FAX)
19   Inver Grove Heights, MN 550077                                  Via email

20
                                                                     U.S. Mail
21   U.S. Small Business Administration                              Hand Delivered
     1545 Hawkins Blvd, Suite 202                             !EI    Overnight Mail
22   El Paso, TX 79925                                               Telecopy (FAX)
                                                                     Via email
23

     El Paso District Office                                         U.S. Mail
24
     915.834.4600                                                    Hand Delivered
25   DL0050@sba.gov                                                  Overnight Mail


                                                                                             LAW OFFICES 01=

                                                                                      LEK1NS & ANNIS, PS
                                                                                  A PROFESSIONAL SERVICE CORPORATION
                                                                                        717 W Sprague Ave., Suite IfiOfl
     DECLARATION OF CLAIRE M. BAKER IN SUPPORT                                               Sjrikine.WA 09701
                                                                                          Telephone: (509) 455-9555
                                                                                             Fix; (509)747 23Z3
     OF MOTION TO APPOINT A RECEIVER: 3


     01988131   1/29/21




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 1                                                              Telecopy (FAX)
      Office of General Counsel                          m      Via email
 2    409 3rd Street NW
      Washington, DC 20416
 3
      Brittany Biles, GC
 4    Nina Levine, Deputy GC
      General Inquiries: answerdcskfa)sba.eov
 5
      AXA Equitable Life Insurance Company                      U.S. Mail
 6    1290 Avenue of the Americas                               Hand Delivered
      New York, NY 10104                                 [HI   Overnight Mail
 7
      Customer Service: 877.222.2144                           Telecopy (FAX)
 8                                                             Via email

 9   Equitable Financial Life Insurance Company                 U.S. Mail
      16th Floor, 1290 Avenue of the Americas                  Hand Delivered
10   New York, NY 10104                                  IE)   Overnight Mail
     Customer Service: 877.222.2144                            Telecopy (FAX)
11
                                                               Via email
12

13   The Prudential Insurance Company of America               U.S. Mail
     2100 Ross Avenue, Suite 2500                              Hand Delivered
14
     Dallas, TX 75201                                    m     Overnight Mail
     Loan Nos. 717611839 & 717611840                           Telecopy (FAX)
15
     214.777.4500                                              Via email
16   214.721.6007


17   Rabo Agrifinance, Inc., as Mortgagee                      U.S. Mail
     12443 Olive Blvd, Suite 50                                Hand Delivered
18
     St. Louis, MO 63141                                       Overnight Mail
19
     855.722.7766                                              Telecopy (FAX)
     CustomerConnectfa)RaboAg.com                              Via email
20
     Big Bend Electric Cooperative, Inc.                       U.S. Mail
21   P.O. Box 348                                              Hand Delivered
     Ritzvillc, WA 99169                                       Overnight Mail
22
     866.844.2363                                              Telecopy (FAX)
     Admin@bbec.org                                      m     Via email
23

24

25


                                                                                      1.AW O PIECES OF

                                                                               LUKINS & ANNIS, PS
                                                                            A PROFESSIONAL SERVICE CORPORATION
                                                                                 717 W Sprague Ave.. Suile 1600

     DECLARATION OF CLAIRE M. BAKER IN SUPPORT                                        Spokane, WA 991201
                                                                                   TckpboDc; (509)455 -4555
                                                                                      Fax: (509)747-
     OF MOTION TO APPOINT A RECEIVER: 4


     01988131 1/29/21




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     1
                                                MARfANNE LOVE, PARALEGAL
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                                                                                   LAW OFFICES dl-

                                                                           LUKINS & ANNIS, PS
                                                                        A PROFESSIONAL SERVICE CORPORATION
                                                                             717 W Spragee Ave,, Suise 1600
         DECLARATION OF CLAIRE M. BAKER IN SUPPORT                                Spokasc, WA 99201
                                                                               Telephone: (509) 455-9555
                                                                                  Fax: (509)747-2123
         OF MOTION TO APPOINT A RECEIVER: 5


         missis) 1/29/21




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                         EXHIBIT A




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                                                                                   *0965*


                                                                   PROMISSORY NOTE
       Principal                 Loan Date           Maturity              Loan No                 Call I Coll             Account               Officer      Initials
   $45,000,000.00                09-03-2020        06-30-2022            750140279                               12       EAA6216                  use
               References in the boxes above aro for Lender's use only and do not limit
                                                                                        the applicability of this document to any particular loan ex item.

                                               Any item above containing '**** has been emitted due to text length limitations.

  Borrower:           easterday farms                                                    Lender:          Washington trust sank
                      EASTERDAY RANCHES. INC.
                                                                                                          Ken ne wi'ck Financial Center
                      5235 INDUSTRIAL WAY                                                                 3250 West Clearwater
                      PASCO, WA        99301
                                                                                                          Kennewick, WA      99336
                                                                                                          (BOO) 788-4578
    Principal Amount:               $45,000,000.00
                                                                                                                           Date of Note:           August 25, 2020
    PROMISE TO            PAY.   EASTERDAY        FARMS; and     EASTERDAY       RANCHES. INC. {"Borrower") jointly and severally promise
    WASHINGTON TRUST BANK ("Lender"), or order. In lawful money of                                                                 to pay to
                                                                   the United States of America, the principal amount of Forty -five Million
    00/100Dollars ($45,000,000.00) or so much as may be outstanding, together                                                                &
                                                                                with Interest on the unpaid outstanding principal balance of each
    advance. Interest shall be calculated from the date of each advance
                                                                        until repayment of each advance.
    PAYMENT, Borrower wilt pay this loan in one payment of all outstanding
                                                                                    principal plus all accrued unpaid interest on Juno 3*0, 2622, In
    addition, Borrower will pay regular monthly payments of all accrued
                                                                            unpaid interest due as of each payment date, beginning September
    2020, with ait subsequent Interest payments to he due on the last                                                                             30,
                                                                          day of each month after that. Unless otherwise agreed or required
    applicable law, payments will be applied first to any unpaid collection                                                                       by
                                                                             costs; then to any late charges; than to any accrued unpaid interest
    shown on the most recent statement or hill provided to Borrower (if no                                                                        as
                                                                           statement or bill has been provided for any mason, It shall be applied
    to the unpaid interest accrued since the last payment); and then to
                                                                        principal,
    VARIABLE INTEREST RATE. The Interest rate on this Note te subject
                                                                                 to change from lime to time based on changes in an index which Is
    WASHINGTON TRUST BANK INDEX RATE (the "Index"). The Index Is                                                                                        the
                                                                               not necessarily the lowest rate charged by Lender on its loans and is set
    Lender In its sole discration. Lender will tetl Borrower the current Index                                                                           by
                                                                               rate upon Borrower's request. The Interest rate change will not occur
    often than each SAME DATE OF CHANGE IN THE INDEX. Borrower understands                                                                            more
                                                                                          that Lender may make loans based ort other rates as welt. The
    Index currently Is 3.250% per annum.             Interest on the unpaid principal balance of this Note will be calculated
                                                                                                                              as described In
                                                                                                                                 the "INTEREST
    CALCULATION METHOD" paragraph using a rate of 0.500 percentage
                                                                   points under the Index (the "Margin"), adjusted if necessary far any minimum
    and maximum rato limitations described below resulting in an initial
                                                                         rate of 3.750% per annum based on a year of 360 days.                  If Lender determines,
   Its sole discretion, that the Index has become unavailable or unreliable,                                                                              in
                                                                             either temporarily, indefinitely, or permanently, during the term of this Note,
   Lender may amend this Note by designating a substantially similar substitute
                                                                                 index. Lender may also amend and adjust the Margin to accompany the
   substitute    index.    The change to the Margin mey be a positive or negative value, or
                                                                                            zero.           In making these amendments, Lender
                                                                                                                                             may take into
   consideration any then-prevailing market convention for selecting a substitute
                                                                                  index and margin for the specific Index that is unavailable or unreliable.
   Such an     amendment to the terms of this Note witl become effective and bind
                                                                                  Borrower 10 business days after Lender gives written notice to Sorrower
   without any action or consent of the Sorrower.        NOTICE:    Under no circumstances will the interest rate on this Note be less than 3.750%
   more then the maximum rate allowed by applicable law,                                                                                           per annum or

   INTEREST CALCULATION METHOD.             Interest on this Note Is computed on a 365/360 basis; that is, by
                                                                                                              applying the ratio of the interest rate
   over a year of 360 days, multiplied by the outstanding principal
                                                                        balance, multiplied by the actual number of days the principal
   outstanding.                                                                                                                           balance is
                   All Interest payable under this Note Is computed using this method.
                                                                                             This calculation method results in a higher effective
   interest rate than the numeric Interest rate stated In this Note.

   RECEIPT OF PAYMENTS.               Ail payments must be made in U.B. dollars and must be received
                                                                                                     by Lender consistent with the following  payment
   instructions: Only checks or money orders should be sent by mail
                                                                    and ail payments must be accompanied by the account number
   Lender may modify these payment instructions by providing updated                                                                 or payment stub.
                                                                     payment instructions to Borrower in writing. If a payment is made
                                                                                                                                        consistent with
   Lender's payment instructions but received after 5:00 P.M. Pacific Time
                                                                           on a business day, Lender will credit Borrower's payment on Ihe next
   day.                                                                                                                                         business

   PREPAYMENT. Borrower agrees that all loan fees and other prepaid
                                                                        finance charges are earned fully as of the date of the loan and will
   to refund upon early payment (whether voluntary or as a result of                                                                         not be subject
                                                                     default), except as otherwise required by law.   Except for the foregoing, Borrower
   may pay without penalty all or a portion of the amount owed earlier than it
                                                                               is due.      Early payments will net, unless agreed to by Lender in writing, relieve
   Borrower of Borrower's obligation to continue to make payments
                                                                  cf accrued unpaid interest.            Rather, early payments wit? reduce the principal balance
   due.     Borrower agrees not to send Lender payments marked "paid in full", "without
                                                                                        recourse", or similar language.           If Borrower
                                                                                                                              sends such a payment.
   Lender may accept it without losing any of Lender's rights under
                                                                    this Note, and Borrower will remain obligated 1o pay any further
                                                                                                                                     amount owed to
   Lender. All written communications concerning disputed amounts, Including
                                                                             any check or other payment instrument that indicates that the
   payment     constitutes "payment In full" of the amount owed or that Is tendered
                                                                                    with other conditions or limitations or as full satisfaction of
   disputed amount must be moiled or delivered to:                                                                                                  a
                                                                   WASHINGTON TRUST BANK, Loan Service Center, F.Q. BOX
                                                                                                                        2127 SPOKANE, WA
   99210-2127.

   LATE CHARGE. If a payment is 30 days or more late, Borrower will
                                                                    be charged 10.000% of the unpaid portion of the regularly scheduled
   or $20.00, whichever is greater.                                                                                                     payment

   INTEREST AFTER DEFAULT.              Upon default, including failure to pay upon final maturity, the interest
                                                                                                                 rate on this Note shalf be increased by adding an
   additional 4.000 percentage point margin ("Default Rate Margin").
                                                                      The Default Rate Margin shed also apply to each succeeding interest
                                                                                                                                                rate change
   that would have applied had there been no default, if judgment Is
                                                                     entered in connection with this Note, interest will continue to accrue
                                                                                                                                            after the date of
   judgment at the rate in effect at thn time judgment is entered.      However, in no event will the interest rate exceed the maximum interest
   under applicable taw,                                                                                                                        rata limitations

   DEFAULT.       Each of the following shall constitute an event of default ("Ev&fit of Default")
                                                                                                   under this Note:
          Payment Default.       Borrower fails to make any payment when due under this Note.

          Other Defaults, Borrower fails to comply with or to perform any other
                                                                                term, obligation, covenant or condition contained in this Note or in any
          related documents or to comply with or to perform any term, obligation,                                                                        of the
                                                                                  covenant or condition contained in any other agreement between Lender
          and Borrower,

          Default in Favor of Third Parties.       Borrower or any Grantor defaults under any loan, extension of credit,
                                                                                                                         security agreement, purchase
                                                                                                                                                 or sales
          agreement, or any other agreement, in favor of any other creditor
                                                                            or person thai may materially affect any of Borrower's property
                                                                                                                                            or Borrower's
          ability to repay this Note or perform Borrower's obligations under this Note
                                                                                       or any of the related documents.
          False Statements. Any warranty, representation or statement made
                                                                                   or furnished to Lender by Borrower or on Borrower's behalf under Ihis
          or the related documents is false or misleading In any material respect,                                                                          Note
                                                                                    either now or at the time made or furnish erf or becomes falsa or misleading
          at any time thereafter.

          Insolvency. The dissolution or termination of Borrower's existence
                                                                               as a going business or the death of any partner, the insolvency of Borrower,
          the appointment of a receiver far any part of Borrower's property, any
                                                                                 assignment for the benefit of creditors, any type of creditor workout,
          commencement                                                                                                                                  or the
                            of any proceeding under any bankruptcy or insolvency laws by or
                                                                                            against Borrower,
       Creditor or Forfeiture Proceedings,     Commencement of foreclosure or forfeiture proceedings, whether
                                                                                                                    by judicial proceeding,, self-help,
       repossession or any other method, by any creditor of Borrower or by
                                                                             any governmental agency against any collateral securing the loan.
       includes a garnishment of any of Borrower's accounts, including deposit                                                                    This
                                                                               accounts, with Lender. However, this Event of Default shall not apply
                                                                                                                                                      tf




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         there is a good faith dispute by Borrower as to the validity or reasonablenes
                                                                                          s of the claim which is the basis of the creditor or forfeiture proceeding
         and rf Borrower gives Lender written notice of the creditor or forfeiture
                                                                                   proceeding and deposits with Lender monies or a surety bond for the
         or forfeiture proceeding, in an amount determined by Lender, in its sole                                                                            creditor
                                                                                     discretion, as being en adequate reserve or bond for the dispute,
         Events Affecting Guarantor. Any of the preceding events occurs
                                                                                 with respect to any Guarantor of any of the indebtedness or any Guarantor
         or becomes incompetent, or revokes or disputes the validity of. or fiabBrty                                                                            dies
                                                                                       under, any guaranty of the indebtedness evidenced by this Note.
          Events Affecting General Partner of Borrower.           Any of the preceding events occurs with respect to any general
                                                                                                                                 partner of Borrower or any
         general partner dies or becomes incompetent.

         Change In Ownership. The resig nation or expulsion of any general
                                                                             partner with an ownership Interest of twenty -five percent (25%) or
         Borrower. Any change in ownership of twenty-five percent (25%) or more                                                                  more in
                                                                                of the common stock of Borrower.
         Adverse Change.       A material adverse change occurs in Borrowcr'a financial condition,
                                                                                                    or Lender believes the prospect erf payment or
         performance erf this Note is impaired.

         insecurity.    Lender in good faith believes itself insecure.
         Cure Provisions. If any default, other than a default in payment,
                                                                             is curable and if Borrower has not heen given a notice of a breach
         provision of this Note within the preceding twelve (12) months, it may                                                                  of the same
                                                                                     be cured if Borrower, after Lender sends written notice to Borrower
         demanding cure of such default: (1 ) cures the default within thirty (30)
                                                                                   days; or (2) if the cure requires more than thirty (30) days, Immediately
         initiates steps which Lender deems in Lender's sole discretion to
                                                                               be sufficient to cure the defauft and thereafter continues and completes
         reasonable and necessary steps sufficient to produce compliance as soon                                                                          all
                                                                                    as reasonably practical,
    MAXIMUM LATE CHARGE, Borrower acknowledges that the Into
                                                                     charge provided in this Note shall be due on interim payments, on
    acceleration of Ihe balance due on this Note, Notwithstanding anything                                                             maturity and on
                                                                              to the contrary in the LATE CHARGES provision in this Note, under
    circumstances shall any late charge due on an interim payment, at                                                                               no
                                                                      maturity or on acceleration exceed the sum of $999, 99,  Borrower acknowledges
    that the late charge provided in this Note represents Ihe reasonable estimate
                                                                                  by Lender and Borrower of   a fair average compensation due to the failure
    of Borrower to make timely payments. Such late charge shall be
                                                                   paid without prejudice to the rights of the Lender to collect any
                                                                                                                                     other amounts provided
    to be paid or to declare a default under this Note or under the Related Documents.
   JUDGMENT. Unless adequately covered by Insurance in the opinion
                                                                   of Lender, the entry of a fin3l judgment for the payment of money
   lhan one hundred thousand dollars                                                                                                 involving more
                                          ($100,000.00) against Borrower and    the failure by Borrower to discharge the same, or cause it to be
   bonded! off to Lender's satisfaction, within Lhirty (30) days from the date                                                                   discharged, or
                                                                               of tha order, decree or process under which or pursuant to which such
   was colored, shall be deemed an Event of Default hereunder and under                                                                               judgment
                                                                               the Related Documents,
   LENDER'S RIGHTS. Upon default, Lender may declare the entire
                                                                unpaid principal balance under this Note and all accrued unpaid Interest
   due, and then Borrower will pay lhat amount,                                                                                          immediately

   ATTORNEYS" FEES; EXPENSES.            Lender may hire or pay someone else to help collect this Note if
                                                                                                          Borrower does not pay. Borrower will pay Lender
   that amount. This includes, subject to any limits under applicable law,
                                                                           Lender's attorneys' fees and Lender's legal expenses, whether or
   lawsuit, including attorneys' fees, expenses for bankruptcy proceedings                                                                   not there is a
                                                                             (including efforts to modify or vacate any automatic Stay or injunction),
   appeals. If not prohibited
                          by applicable law, Borrower also will pay any court costs, in addition                                                       and
                                                                                                 to all other sums provided by law.
   GOVERNING LAW. This Note will be governed by federal law applicable
                                                                                to Lender and, to the extent not preempted by federal law, the laws
   of the State of Washington without regard to Its conflicts of
                                                                      law provisions. This Note has been accepted by Lender In
   Washington.                                                                                                                         the State of

   CHOICE OF VENUE.          If there is a lawsuit, Burrower agrees upon Lender's request to submit
                                                                                                    to the jurisdiction of the courts of Benton County, State of
   Washington,

   RIGHT OF SETOFF.         To the extent permitted by applicable law, Lender reserves a
                                                                                         fight of setoff in aH Borrower's accounts with Lender (whether
   checking, savings, or some other account).      This includes all accounts Borrower holds jointly with someone else
   the future.
                                                                                                                       end all accounts Borrower may open in
                 However, this does not include any IRA or Keogh accounts,
                                                                              or any trust accounts for which setoff would be prohibited
   authorizes Lender, to the extent permitted by applicable law, to charge                                                               by law. Borrower
                                                                           or setoff all sums owing on the indebtedness against any and all
   and, at Lander's                                                                                                                         such accounts,
                       option, to administratively freeze all such accounts to allow Lender
                                                                                            to prcftecl Lender's charge and setoff rights provided in this
   paragraph.

   COLLATERAL. Borrower acknowledges this Note is secured
                                                               by a Security Agreement dated September 3, 2020 covering substantially
   assets granted by Basterday Farms; a Security Agreement dated                                                                        all business
                                                                  September 3, 2020 covering substantially afi business assets
                                                                                                                               granted by Easterday
   Ranches, Inc.
   LINE OF CREDIT, This Note evidences a revolving line of credit.
                                                                       Advances under this Note may be requested either orally or in
   or as provided In this paragraph. Lender may, but need not, require                                                                writing by Borrower
                                                                       that ail oral requests be confirmed in writing. Ail communication
   directions by telephone                                                                                                              s, instructions, or
                             or otherwise to Lendei are to be directed to Lender's office
                                                                                          shown above.       The following person or persons
                                                                                                                                      are authorized to
   request advances and authorize payments under the line cf credit
                                                                    until Lender receives from Burrower, at Lender's address shown
   of revocation of such authority.                                                                                                above, written notice
                                        CODY EASTERDAY; OEBBY EASTERDAY; GALE EASTERDAY;
                                                                                                                  KAREN EASTERDAY; and/or CODY
   EASTER DAY. Borrower agrees to be liable for ell sums either
                                                                      (A) advanced in accordance with the instructions of an authorized
   credited to any of Borrower's accounts with Lender. The unpaid                                                                       person or (B)
                                                                    principal balance owing on this Note at any time may be evidenced
  on this Noto or by Lender's internal records, including daily computer                                                              by endorsements
                                                                         print-outs. Lender will have no obligation to advance funds under
  Borrower or any guarantor is in default under the terms of this Note                                                                     this Note rf: (A)
                                                                         or any agreement that Borrower or any guarantor has with Lender,
  agreement made in connection                                                                                                                 including any
                                       with the signing cf this Note;    (B)      Borrower or any guarantor ceases doing business or
                                                                                                                               is insolvent;  (G) any
  guarantor seeks, claims or otherwise attempts to limit, modify cr
                                                                    revoke such guarantor's guarantee of this Note or any other loan
  Bonrower has applied funds provided pursuant to this Ncrte for purposes                                                            with Lender; (D)
                                                                          other than those authorized by Lender; or (E) Lender In good
  itself insecure.                                                                                                                       faith believes

  AFFIRMATIVE COVENANTS, Borrower covenants and warrants
                                                               that as long as this Note or any Related Documents remain in effect,
                                                                                                                                       Borrower will:
       Notices of Claims and Litigation. Promptly inform Lender in
                                                                   writing of (1) all material adverse changes in Borrower's financial
  all existing and all threatened                                                                                                      condition, and (2)
                               litigation, claims, investigations, administrative proceedings, or similar
                                                                                                          actions affecting Borrower or any Guarantor which
  do or could exceed one hundred thousand dollars ($ 190,000.00).

       Financial Records.      Maintain its books and records in accordance with accepted accounting
                                                                                                     principles, in form and substance satisfactory to
  Lender, applied on a consistent basis.    Permit Lander to examine, audit, and copy such books and records at
                                                                                                                ail reasonable times,.
       Financial Statements,      Furnish Lender with the following:     (1) As
                                                                         soon as available, but in no event later than one-hundred- fifty
  the end of each fiscal year or within the required time period                                                                          (150) days after
                                                                 specified in any loan agreement between Borrower and Lender,,
  statement                                                                                                                         Borrower's financial
               for the year ended, In form and substance satisfactory to Lender,
                                                                                 and (2) such additional financial or other information, statements,
  certifications, in                                                                                                                                 and
                   form and substance satisfactory to Lender, as Lender may require or
                                                                                       requesL
  SURVIVAL OF REPRESENTATIONS AND WARRANTIES. Borrower
                                                                         understands and agrees that in extending Loan Advances, Lender
  all representations, warranties, and covenants made by Borrower                                                                           Is refying on
                                                                  in this Note or in any certificate or other instrument delivered by
  under this Note or any Related                                                                                                      Borrower to Lender
                                      Documents.   Borrower further agrees that regardless of any investigation
                                                                                                                made by Lender, all such representations,
  warranties and covenants will survive the extension of Loan Advances
                                                                       and delivery to Lender of any Related Documents, shall           be continuing in nature,
  shall bo deemed made and redated by Borrower at the time each
                                                                           Loan Advance Is made, and shall remain in full force and effect until
  Borrower's indebtedness shall toe paid in full, or until this Note or eny                                                                         such time as
                                                                            Related Documents shall be terminated, whichever is the last to occur,
  NO WAIVER BY LENDER. Lender shall not bedeerned to have waived
                                                                                 any rights under this Note unless such waiver is given in writing and
  Lender.  No delay or omission on tha part of Lender in exercising                                                                                    signed by
                                                                          any right shall operate as a waiver of such right or any other
  Lender of a provision of this Note shall not prejudice or constitute                                                                      right. A waiver by
                                                                       a waiver of L finder's right otherwise to demand strict compliance
                                                                                                                                          with that provision or
  any other provision of this Note.    No prior waiver by Lender, nor eny course of dealing between Lender
                                                                                                           and Borrower,  cr between l ender and any
  Guarantor, shall constitute a waiver of any of Lender's rights
                                                                 or of any of Borrower's or any Guarantor's obligations as to
  Whenever the consent of Lender is required under the Note, the                                                              any future transections.
                                                                    granting of such consent by Lander In any Instance shall not
  consent to subsequent instances where such consent i3 required and In all                                                      constitute continuing
                                                                            cases such consent may be granted cr withheld in the sola discretion
                                                                                                                                                 of




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   Lender.

   NOTICE OF FINAL AGREEMENT. ORAL AGREEMENTS OR ORAL COMMITMENTS TO LOAN MONEY, EXTEND
   CREDIT, OR TO FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE NOT ENFORCEABLE
                                                                                  UNDER
   STATE LAW
   COUNTERPARTS. This Agreement may be executed in multiple counterparts, each of which,
                                                                                         when so executed, shall be deemed an original but all
   such counterparts, taken together, shall constitute one and the same Agreement,

   NONLIABILITY OF LENDER. The relationship between Borrower and Lender created by this
                                                                                        Agreement is strictly a debtor and creditor relationship
   and not fiduciary in nature, nor is the relationship to be construed as creating any partnership or Joint
                                                                                                             venture between Lender and Borrower. Borrower
   is exercising Borrower's own judgment with respect to Borrower's business. All information supplied to
                                                                                                                 Lender is for Lender's protection only and no
   other party Is entitled to rely on such information,   There is no duty for Lender to review, inspect, supervise or inform Borrower of any matter
                                                                                                                                                     with
   respect to Borrower's business.    Lender and Borrower intend that Lander may reasonably rely on oil information supplied by Borrower
                                                                                                                                         to Lender,
   together with all representations and warranties given by Borrower to Lender, without investigation
                                                                                                       or confirmation by Lender and that any investigation
   or failure to investigate will not diminish Lender's right to so rely.

   AUTOMATIC EXTENSION. Provided the Ncrte is not In default and at the sole discretion of the Lender,
                                                                                                       the Borrower may be granted the right to extend
   the maturity of this note for up to two {2) calendar months.

   SUCCESSOR INTERESTS.          The terms of this Note shall be binding upon Borrower, and upon Borrower's heirs, personal representatives,
                                                                                                                                             successors
   and assigns, and shall inure to the benefit of Lender and its successors and assigns.

   NOTIFY US OF INACCURATE INFORMATION WE REPORT TO CONSUMER REPORTING
                                                                       AGENCIES.                                           Borrower may notify Lender if Lender
   reports any inaccurate information about Borrower's account(s) to a consumer reporting agency,
                                                                                                  Borrower's written notice describing the specific
   inaccuracy(ies) should be sent to Lender at the following address: WASHINGTON TRUST BANK
                                                                                            Loan Service Center P.O. BOX 2127 SPOKANE, WA
   99210-2127.

   GENERAL PROVISIONS.         If any part of tills Note cannot be enforced, this fact will not affect the rest of the Note.   Lender may delay or forgo enforcing
  any of its rights or remedies under this Note without losing them. Each Borrower understands and
                                                                                                    agrees that, with or without notice to Borrower.
  Lender may with respect to any other Borrower (a) make one or more additional secured or unsecured
                                                                                                     loans or otherwise extend additional credit; (b)
  after, compromise, renew, extend, accelerate, or otherwise change one or more limes the time for
                                                                                                   payment or other terms of any indebted n ass, including
  increases and decreases of the rate of interest on the indebtedness;         (c) exchange, enforce, waive, subordinate, fail or decide not to perfect, and
  release any security, with or without the substitution of new collateral; (d) apply such security
                                                                                                    and direct the order or manner of sale thereof, incfuding
  without limitation, any non-judicial sale permitted by the terms of the controlling security agreements,
                                                                                                            as Lender in its discretion may determine; (e)
  release, substitute, agree not to sue, or deal with any one or more of Borrower's sureties, endorsers,
                                                                                                         or other guarantors on any terms or in any manner
  Lender may choose; and (f) determine how, when end what application of payments and credits
                                                                                                        Shalt be made on any other indebtedness owing by
  such other Borrower. Borrower and any other person who signs, guarantees or endorses this
                                                                                                    Note, to the extent allowed by law, waive presentment,
  demand for payment, and notice of dishonor. Upon any change in the terms of this Note, and unless
                                                                                                         otherwise expressly stated in writing, no party who
  signs this Note, whether as maker, guarantor, accommodation maker or endorser, shall be released
                                                                                                          from liability. AH such parties agree that Lender
  may renew or extend (repeatedly and for any length of time) this loan or release any party, partner,
                                                                                                       or guarantor or collateral; or impair, fail io realize
  upon or perfect Lender's security interest in the collateral; and take any other action deemed
                                                                                                 necessary by Lender without the consent of or notice to
  anyone.    All such parties also agree that Lander may modify this loan without the consent of or notice ta anyone
                                                                                                                     other than the party with whom the
  modification is made.   The obligations under this Note are joint arid several.




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   PRIOR TO SIGNING THIS NOTE, EACH BORROWER READ AND UNDERSTOOD ALL THE
                                                                         PROVISIONS OF THIS NOTE, INCLUDING THE
   VARIABLE INTEREST RATE PROVISIONS.             EACH BORROWER AGREES TO THE TERMS OF THE NOTE.

   BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY
                                                                        NOTE.

   BORROWER:




   EASTERTJA^

   By:
                                                                      By:
   CODY     EASTERDAYr^jCJfltfSral      Partner        of             DEBBY   EASTERDAY,   , Gftnerab   Rtfrt ler   of
   EASTERDAY. FARMS-"!                                                EA

   By:
                                                                      By:       Li
   GALE     EASTERCKV;     General/     Partner        of              —i—
                                                                      KAREN  ytASTERDAY,     General    Raft ner    of
   EASTERDAY FARMS
                                                                      EASTERDAY FARMS                   /


   EAST!

   By:_^
   CODY                           of    EASTERDAY
   RANCHI




                                 LubPiB Vte Jtijv Mi
                                                                                           ma- Sirs




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                                                                       PI       III


                                                                                III
                                                                        *0930*


                                                 PARTNERSHIP AUTHORIZATION

     Principal            Loan Date         Maturity             Loan No                        Call / Con         Account             Officer    Initials
 $45,000,000.00          09-03-2020       06-30-2022          750140279                                 12        EAA6216       1488
     References in the boxes above are for Lender's use only and do not limit the applicability of this document to any
                                                                                                                        particular loan or item.
                               Any item above containing "***" has been omitted due to text length limitations.

 Borrower:         EASTERDAY FARMS                                                    Lender:         WASHINGTON TRUST BANK
                   EASTERDAY RANCHES, INC,                                                            Kennewick Financial Center
                   5235 INDUSTRIAL WAY                                                                3250 West Clearwater
                   PASCO, WA 99301                                                                    Kennewick, WA 99336
                                                                                                      (800) 788-4578


Partnership:       EASTERDAY FARMS
                   5235 INDUSTRIAL WAY
                   PASCO, WA 99301



  IN CONSIDERATION OF the existing or proposed lending or banking relationship between EASTERDAY
                                                                                                 FARMS; and EASTERDAY RANCHES,
  INC. ("Borrower") and WASHINGTON TRUST BANK ("Lender"), and between EASTERDAY FARMS ("the Partnership")
                                                                                                          and Lender, the persons
  signing below jointly and severally and on behalf of the Partnership represent and certify to Lender that:

  THE PARTNERSHIP'S EXISTENCE.         The complete and correct name of the Partnership is EASTERDAY FARMS ("Partnership"),                 The Partnership
  is a partnership which Is, and at all times shall be, duly organized, validly existing, and in good standing
                                                                                                               under and by virtue of the lows of the
  State of Washington. The Partnership is duly authorized to transact business in all other states in
                                                                                                            which the Partnership is doing business,
  having obtained alt necessary filings, governmental licenses and approvals for each state In which
                                                                                                                  the Partnership is doing business.
  Specifically, the Partnership is, and at all times shall be. duly qualified as a foreign partnership in all states
                                                                                                                     in which the failure to so qualify
  would have a material adverse effect on its business or financial condition.              The Partnership has the full power and authority to own tts
  properties and to transact the business In which It is presently engaged or presently proposes to engage.
                                                                                                            The Partnership maintains an office at
  6235 INDUSTRIAL WAY, PASCO, WA 99301. Unless the Partnership has designated otherwise in writing,
                                                                                                               the principal office is the office at
  which the Partnership keeps its books and records, The Partnership wilt notify Lender prior to any change
                                                                                                              in the location of the Partnership's
  principal office address or any change in the Partnership's name. The Partnership shall do all things necessary
                                                                                                                   to preserve and to keep in full
  force and effect its existence, rights and privileges, and shall comply with all regulations, rules,
                                                                                                       ordinances, statutes, orders and decrees of any
  governmental or quasi-governmental authority or court applicable to the Partnership and the Partnership's
                                                                                                            business activities.

  AUTHORIZATIONS ADOPTED. At a meeting of the partners of the Partnership, duly called and held on
                                                                                                               September 3, 2020, or by other duly
  authorized action In lieu of a meeting, the agreements and authorizations set forth in this Authorization were
                                                                                                                 adopted,
  PARTNERS. The following named persons are partners of EASTERDAY FARMS:

       NAMES                            TITLES                   AUTHORIZED                                            ^NATURES
       CODY EASTERDAY                   General Partner                     Y           X

       DEBBY EASTERDAY                 General Partner                      Y
                                                                                                                                       /I
      GALE EASTERDAY                   General Partner                      Y
                                                                                                                                   /

      KAREN EASTERDAY                  General Partner                      Y           xC                                     vy.
  ACTIONS AUTHORIZED. Any four (4) of the authorized persons listed above may
                                                                                                  fter into any agreements of any nature with Lender, and
  those agreements will bind the Partnership.    Specifically, but without limitation,            my four (4) of such authorized persons are authorized,
  empowered, and directed to do the following for and on behalf of the Partnership:

      Borrow Money.      To borrow, as a cosigner or otherwise, from time to time from Lender, on such terms as may be agreed upon
                                                                                                                                   between the
      Partnership and Lender, such sum or sums of money as In their judgment should be borrowed, without
                                                                                                         limitation.
      Execute Notes.      To execule and deliver to Lender the promissory note or notes, or other evidence of the
                                                                                                                                Partnership's credit
      accommodations, on Lender's forms, at such rates of interest and on such terms as may be agreed upon,
                                                                                                                   evidencing the sums of money so
      borrowed or any of the Partnership's indebtedness to Lender, and also to execute and deliver to Lender one
                                                                                                                      or more renewals, extensions,
      modifications, refinancings, consolidations, or substitutions for one or more of the notes, any portion
                                                                                                              of the notes, or any other evidence of
      credit accommodations.

      Grant Security,    To mortgage, pledge, transfer, endorse, hypothecate, or otherwise encumber and deliver to Lender
                                                                                                                          any property now or
      hereafter belonging to the Partnership or in which the Partnership now or hereafter may have an
                                                                                                      interest, including without limitation all of
      the Partnership's real property and all of the Partnership's personal property (tangible or intangible),
                                                                                                               as security for the payment of any
      loans or credit accommodations so obtained, any promissory notes so executed (including any amendments
                                                                                                                    to or modifications, renewals,
      and extensions of such promissory notes), or any cither or further indebtedness of the Partnership
                                                                                                         to Lender at any time owing, however
      the same may be evidenced. Such property may be mortgaged, pledged, transferred, endorsed, hypothecated
                                                                                                                     or encumbered at the time
      such loans are obtained or such Indebtedness is incurred, or at any other time or times, and may be
                                                                                                          either in addition to or in lieu of any
      property theretofore mortgaged, pledged, transferred, endorsed, hypothecated or encumbered,

      Execute Security Documents.     To execute and deliver to Lender the forms of mortgage, deed of trust, pledge agreement, hypothecation
      agree meat, and other security agreements and financing statements which Lender may require
                                                                                                  and which shali evidence the terms and
      conditions under and pursuant to which such liens and encumbrances, or any of them, are given: and also
                                                                                                              to execute and deliver to Lender
      any other written instruments, any chattel paper, or any other collateral, of any kind or nature, which
                                                                                                              Lender may deem necessary or proper
      in connection with or pertaining to the giving of the liens and encumbrances.                 Notwithstanding the foregoing, any one of the above
      authorized persons may execute, deliver, or record financing statements.

      Negotiate Items.    To draw, endorse, and discount with Lender all drafts, trade acceptances, promissory notes, or
                                                                                                                         other evidences of
      indebtedness payable to or belonging to the Partnership or in which the Partnership may have an
                                                                                                      interest, and either to receive cash for the
      same or to cause such proceeds to be credited to the Partnership's account with Lender, or to cause
                                                                                                          such other disposition of the proceeds
      derived therefrom as they may deem advisable.

      Further Acts.   In the case of lines of credit, to designate additional or alternate individuals as being authorized
                                                                                                                           to request advances under
      such lines, and in all cases, to do and perform such other acts and things, to pay any and all fees
                                                                                                          and costs, and to execute and deliver
      such other documents and agreements as the partners may in their discretion deem reasonably necessary
                                                                                                                or proper in order to carry into
      effect the provisions of this Authorization.   The following person or persons are authorized to request advances and authorize payments
      under the line Of credit until Lander receives from the Partnership, at Lender's address shown above,
                                                                                                            written notice of revocation of such
      authority:   CODY EASTERDAY; DEBBY EASTERDAY; GALE EASTERDAY; KAREN EASTERDAY; and/or CODY
                                                                                                 EASTERDAY.
 ASSUMED BUSINESS NAMES. The Partnership has filed or recorded ail documents or filings required by
                                                                                                            law relating to all assumed business
 nemos used by the Partnership.   Excluding the nam a of the Partnership, the following rs a complete list of all assumed business names
                                                                                                                                           under
 which the Partnership does business: None.

 JOINT AND SEVERAL LIABILITY.       Each partner agrees to be jointly and severally liable for all of the Partnership's present and future obligations
 to Lender.

 MULTIPLE SORROWERS, The Partnership may enter into transactions in which there are multiple
                                                                                                borrowers on obligations to Lender and the
 Partnership understands and agrees that, with or without notice to the Partnership, Lender may discharge
                                                                                                          or release any psrty or collateral
 securing an obligation, grant any extension of time for payment, delay enforcing any rights
                                                                                             granted to Lender, or take any other action or
 inaction, without the toss to Lender of any of It rights against the Partnership; and that Lender may
                                                                                                       modify transactions without the consent of
 or notice to anyone other than the party with whom the modification is made.

 NOTICES TO LENDER.        The Partnership will promptly notify Lender in writing at Lender's address shown ebove (or such other
                                                                                                                                 addresses as




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                                                                 PARTNERSHIP AUTHORIZATION
  Loan No: 750140279                                                     (Continued)                                                                                                   Page 2

  Lender may designate from time to time) prior to any (A) change in the Partnership's name;                                   (8) change in the Partnership's assumed business
 name(s); (C) change in the partners of the Partnership, including the addition of new partners or the departure of current partners from the
 Partnership; (O) change in the authorized signer(s); (E) change in the Partnership's principal office address; (F) change in the Partnership's
 state of organization; (G) conversion of the Partnership to a new or different type of business entity; or (H) change in any other aspect of the
 Partnership that directly or indirectly relates to any agreements between the Partnership and Lender. No change in the Partnership's name, state
 or organization, or principal office address wilt take effect until after Lender has received notice.

 CERTIFICATION CONCERNING PARTNERS AND AUTHORIZATIONS. The partners named above are duty elected, appointed, or employed by or
 for the Partnership, as the case may be, and occupy the positions set opposite their respective names. This Authorization now stands of record
 on   the books of the Partnership, is in full force and effect, and has not been modified or revoked in any manner whatsoever.

 CONTINUING VALIDITY. Any and all acts authorized pursuant to this Authorization and performed prior to the passage of this Authorization are
 hereby ratified and approved. This Authorization shall be continuing, shall remain in full force and effect and Lender may rely on it until written
 notice of its revocation shall have been delivered to and received by Lender at Lender's address shown above (or such addresses as Lender
                                                                                                                                           may
 designate from time to time).            Any such notice shall not affect any of the Partnership's agreements or commitments in effect at the time notice
 is given,

 IN TESTIMONY WHEREOF, we have hereunto set our hand and attest that the signatures set opposite the names listed above are their genuine
 signatures.

 We each have read all the provisions of this Authorization, and we each jointly and severally and on behalf of the Partnership certify that all
 statements and representations made in this Authorization are true and correct This Partnership Authorization is dated September 3, 2020,


                                                                                                        CERTIFIED TO AND ATTESTED BY:



                                                                                                        X
                                                                                                            CO       EA\                 .eneral Pai          of EASTERDAY
                                                                                                            FARMS




                                                                                                            DEB I       iSTERDAY, General Partner of EASTERDAY
                                                                                                            FARMS


                                                                                                       X
                                                                                                             SAL I     iSTtRDAY, General Parmer of                     StERDAY
                                                                                                            FARMS


                                                                                                    V

                                                                                                            KAI
                                                                                                            FARMS
                                                                                                                     EASTERDAY, General Partner of
                                                                                                                                                                *3      TERDAY




 NOTE:   It STiO partners signing this Authorization arts Oasignaled by the foregoing document as ere of the partner* authorized so acA on the Partnership's be hair, it is advisable
                                                                                                                                                                                      to have this
 Authorization signed by at lease one iwn-auilwitMd partner or me Partnership,




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                         EXHIBIT B




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                                         AGRICULTURAL SECURITY AGREEMENT
     Principal             Loan Date            Maturity              Loan No                  Call I Coil            Account             Officer       Initials
 $45,000,000.00            09-03-2020         06-30-2022            750140279                                         EAA6216
                                                                                                             12                             1488
           References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan
                                                                                                                                              or item.

                                         Any Item above containing "***" has been omitted due to text length limitations-

 Borrower:        EASTERDAY FARMS
                                                                                    Lender:           WASHINGTON TRUST BANK
                  EASTERDAY RANCHES, INC.                                                             Kennewlck Financial Center
                  5235 INDUSTRIAL WAY                                                                 3250 West Clearwater
                  PASCO, WA 99301                                                                     Kennewlck. WA 99335
                                                                                                      (000) 788*4578

 Grantor:         EASTERDAY FARMS
                  5235 INDUSTRIAL WAY
                  PASCO, WA 99301




  THIS AGRICULTURAL SECURITY AGREEMENT dated September 3, 2020, Is made and executed among EASTERDAY
                                                                                                     FARMS ("Grantor");
  EASTERDAY FARMS; and EASTERDAY RANCHES. INC. ("Borrower"); and WASHINGTON TRUST BANK ("Lender").

  GRANT OF SECURITY INTEREST. For valuable consideration, Grantor grants to Lender a security interest
                                                                                                                  in the Collateral to secure the
  Indebtedness and agrees that Lender shall have the rights stated in this Agreement with respect to the Collateral,
                                                                                                                     In addition to all other rights
  which Lender may have by law.

  COLLATERAL DESCRIPTION. The word "Collateral" as used in this Agreement means the following described property,
                                                                                                                           whether now owned or hereafter
  acquired, whether now existing or hereafter arising, and wherever located, in which Grantor is giving to Lender a security
                                                                                                                             interest for the payment of the
  Indebtedness and performance of all other obligations under the Note and this Agreement:
       All goods, equipment, farm equipment, inventory, fixtures, accounts, deposit accounts, chattel paper, documents,
                                                                                                                        general intangibles,
       instruments. Investment property and letter of credit rights

  The Collateral includes any and all of Grantor's present and future inventory (including consigned inventory), related equipment,
                                                                                                                                    goods, merchandise and
  other items of personal property, no matter where located, of every type and description, including without limitation
                                                                                                                         any and all of Grantor's present and
  future raw materials, components, work-in-process, finished items, packing and shipping materials, containers, items held
                                                                                                                            for sale, items held for lease,
  items for which Grantor is lessor, goods to be furnished under contract for services, materials used or consumed in Grantor's business,
                                                                                                                                          whether held by
  Grantor or by others, and all documents of title, warehouse receipts, bills of lading, and other documents of every type covering
                                                                                                                                        all or any part of the
  foregoing, and any and all additions thereto and substitutions or replacements therefor, and all accessories, attachments, and
                                                                                                                                 accessions thereto, whether
  added now or later, and all products and proceeds derived or to be derived therefrom, including without limitation all
                                                                                                                          insurance proceeds and refunds of
  insurance premiums, if any, and all sums that may be duo from third parties who may cause damage to any of the foregoing,
                                                                                                                                 or from any insurer, whether
  due to judgment, settlement, or other process, and any and all present and future accounts, contract rights, chattel paper, instruments,
                                                                                                                                           documents, and
  notes that may bo derived from the sale, lease or other disposition of any of the foregoing, and any rights of Grantor to
                                                                                                                               collect or enforce payment thereof,
  as well as to enforce any guarantees of the forgoing and security therefor, and all of Grantor's present and future general
                                                                                                                                 intangibles In any way related or
  pertaining to the ownership, operation, use, or collection of any of the foregoing, Including without limitation Grantor's
                                                                                                                             books, records, files, computer disks
  end software, and all rights that Grantor may have with regard thereto, Inventory includes inventory temporarily out of
                                                                                                                             Grantor's possession or custody and
  all returns on accounts, chattel paper and instruments.

  The Collateral includes any and all of Grantor's present and future chattel paper, equipment leases, retail installment
                                                                                                                                     contracts, notes and chattel
  mortgages, notes and security agreements, instruments, documents, and all other similar obligations and indebtedness that
                                                                                                                                    may now and in the future be
  owed to or held by Grantor from whatever source arising, and ail monies and proceeds payable thereunder, and all of Grantor's
                                                                                                                                            rights and remedies to
  collect and enforce payment and performance thereof, as well as to enforce any guaranties of the foregoing and security
                                                                                                                                     therefor, and ail of Grantor's
  present and future rights, title and interest In and with respect lo the goods or other property that may give rise to or that
                                                                                                                                  may secure any Of the foregoing,
  including without limitation Grantor's Insurance rights with regard thereto, and any and all present and future general intangibles
                                                                                                                                            of Grantor in any way
  related or pertaining to any of the foregoing, including without limitation Grantor's account ledgers, books, records, files,
                                                                                                                                 computer disks and software, and
  all rights that Grantor may have with regard thereto.

  The Collateral includes any and all of Grantor's present and future accounts, accounts receivable, other receivables,
                                                                                                                        contract rights, instruments,
  documents, notes, and all other similar obligations and indebtedness that may now and in the future be owed lo or held
                                                                                                                         by Grantor from whatever source
  arising, and ait monies and proceeds payable thereunder, and all of Grantor's rights and remedies to collect and enforce payment
                                                                                                                                            and performance thereof,
  as well as to enforce any guaranties of the foregoing and security therefor, and all of Grantor's present and future rights, title and
                                                                                                                                          interest in and with respect
  to the goods, services, and other property that may give rise to or that may secure any of the foregoing. Including without
                                                                                                                                       limitation Grantor's insurance
  rights with regard thereto, and all present and future general Intangibles of Grantor in any way related or pertaining to any
                                                                                                                                  of the foregoing, including without
  limitation Grantor's account ledgers, books, records, files, computer disks and software, and all rights that Grantor may have with regard thereto.       *
  The Collateral Includes any and all of Grantor's now owned and hereafter acquired equipment, machinery, furniture, furnishings
                                                                                                                                 arid fixtures of every type
  and description, and all accessories, attachments, accessions, substitutions, replacements and additions thereto, whether
                                                                                                                              added now or later, and all
  proceeds derived or to bo derived therefrom, Including without limitation any equipment purchased with the proceeds,
                                                                                                                       and all insurance proceeds and
  refunds of insurance premiums, If any, and any sums that may be due from third parties who may cause damage to
                                                                                                                 any of the foregoing, or from any
  insurer, whether due to judgment, settlement or other process, and any and all present and future chattel paper,
                                                                                                                   instruments, notes and monies that may be
  derived from the sale, lease or other disposition of any of the foregoing, any rights of Grantor to collect or enforce payment
                                                                                                                                 thereof as well as to enforce any
  guaranties of Ihe foregoing and security therefor, and ail present and future general intangibles of Grantor in any way related
                                                                                                                                   or pertaining to the ownership,
  operation, or use of the foregoing, and any rights of Grantor with regard thereto.

  The Collateral includes all general intangibles, chosos in action and causes of action and all other intangible personal property
                                                                                                                                    and rights of Grantor of every
  nature and kind, now owned or hereafter acquired, including without limitation corporate or other business records, Inventions,
                                                                                                                                      designs, blueprints, plans,
  specifications, patents, patent applications, trade marks, trade names, trade secrets, goodwill, copyrights, registrations, licenses,
                                                                                                                                        franchises, tax refund
  claims, insurance proceeds, including without limitation insurance covering the lives of key employees on which Grantor
                                                                                                                                  is beneficiary, and any letter of
  credit, guaranty, claim, security interest, or other security held or granted to Grantor to secure payment of any indebtedness.

  The Collateral includes any and all of Grantor's now owned or hereafter acquired farm equipment or agricultural machinery,
                                                                                                                             equipment furnishings and
 fixtures of every type and description, and all accessories, attachments, accessions, substitutions, replacements and additions
                                                                                                                                 thereto, whether added now
 or later, and ail proceeds derived or to be derived therefrom, Including without limitation any equipment purchased with
                                                                                                                             the proceeds, and all insurance
 proceeds and refunds of insurance premiums, if any, and any sums that may be due from third parties wlra may cause damage
                                                                                                                           to any of the foregoing, or
 from any Insurer, whether due to judgment, settlement or other process, and any and all present and future accounts, chattel
                                                                                                                                paper, instruments, notes and
 monies that may bo derived from the safe, lease or other disposition of any of the foregoing, any rights of Grantor to collect
                                                                                                                                or enforce payment thereof as
 wall to enforce any guaranties of the foregoing and security therefor, and all present and future general intangibles
                                                                                                                       of Grantor In any way related or
 pertaining to the ownership, operation, or use of the foregoing, and any rights of Grantor with regard thereto,



 CROSS-COLLATERALIZATION.              In addition to the Note, this Agreement secures all obligations, debts and liabilities, plus interest thereon, of
                                                                                                                                                         either
 Grantor or Borrower to Lender, or any one or more of them, as well as all claims by Lender against Borrower and Grantor
                                                                                                                                or any one or more of them,
 whether now existing or hereafter arising, whether related or unrelated lo toe purpose of the Note, whether voluntary or
                                                                                                                          otherwise, whether due or not due,




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  direct or indirect, determined or undetermined, absolute or contingent, liquidated or unliquidated, whether
                                                                                                              Borrower or Grantor may be liable individually or
  jointly with others, whether obligated as guarantor, surety, accommodation party or otherwise, and whether
                                                                                                                    recovery upon such amounts may be or
  hereafter may become barred by any statute of limitations, and whether the obligation to repay such amounts
                                                                                                                  may be or hereafter may become otherwise
  unenforceable.

  BORROWER'S WAIVERS AND RESPONSIBiUTtES. Except as otherwise required under this Agreement
                                                                                                                     or by applicable law, (A) Borrower agrees
  that Lender need not tell Borrower about any action or Inaction Lender takes in connection with this Agreement!
                                                                                                                        (B) Borrower assumes the responsibility
  for being and keeping informed about the Collateral; and (C) Borrower waives any defenses that may arise
                                                                                                                     because of any action or inaction of Lender,
  including without limitation any failure of Lender to realize upon the Collateral or any delay by Lender
                                                                                                           in realizing upon the Collateral; and Borrower agrees
  to remain liable under the Note no matter what action Lender takes or fails to take under this Agreement.

  GRANTOR'S REPRESENTATIONS AND WARRANTIES, Grantor warrants that: (A) this Agreement
                                                                                                           is executed at Borrower's request and not at the
  request of Lender; (B) Grantor has the full right, power and authority to enter into this Agreement
                                                                                                      and to pledge the Collateral to Lender; (C) Grantor
  has established adequate means of obtaining from Borrower on a continuing basis information about
                                                                                                       Borrower's financial condition; and (D) Lender has
  made no representation to Grantor about Borrower or Borrower's creditworthiness.

  GRANTOR'S WAIVERS,           Grantor waives ail requirements of presentment, protest, demand, and notice of dishonor or non-payment
                                                                                                                                      to Borrower or
  Grantor, or any other party to the Indebtedness or the Collateral.      Lender may do any of the following with respect to any obligation of any Borrower,
  without first obtaining the consent of Grantor: (A) grant any extension of time for any payment, (B) grant
                                                                                                             any renewal, <C) permit any modification of
  payment terms or other terms, or (D) exchange or release any Collateral or other security. No such act
                                                                                                              or failure to act shall affect Lender's rights
  against Grantor or the Collateral.
  RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in
                                                                                                     all Grantor's accounts with Lender (whether checking,
  savings, or some other account}. This includes all accounts Grantor holds jointly with someone else
                                                                                                         and all accounts Grantor may open in the future.
  However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would
                                                                                                          be prohibited by law. Grantor authorizes Lender,
  to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
                                                                                                                and all such accounts, and, at Lender s option,
  to administratively freeze ail such accounts to allow Lender to protect Lender's charge and setoff
                                                                                                     rights provided in this paragraph.
  GRANTOR'S REPRESENTATIONS AND WARRANTIES WITH RESPECT TO THE COLLATERAL,
                                                                                                                Wilh respect to the Collateral. Grantor represents
  and promises to Lender that:

       Perfection of Security Interest Grantor agrees to take whatever actions are requested by Lender
                                                                                                           to perfect and continue lender's security interest
       in the Collateral. Upon request of Lender, Grantor will deliver to Lender any and all of the documents
                                                                                                               evidencing or constituting the Collateral, and
       Grantor will note Lender's interest upon any and all chattel paper and instruments if not delivered
                                                                                                           to Lender for possession by Lender. This is a
       continuing Security Agreement and will continue in effect even though all or any part of the Indebtedness
                                                                                                                        is paid in full and even though for
       a period of time Borrower may not be indebted to Lender.

      Notices to Lender. Grantor will promptly notify Lender in writing at Lender's address shown above
                                                                                                             (or such other addresses as Lender may
      designate from time to time) prior to any (1) change in Grantor's name; (2) change In Grantor's
                                                                                                       assumed business name(s); (3) change in the
      management of the Corporation Grantor, (4) change in the authorized signer(s); (5) change in Grantor's
                                                                                                                principal office address; ((5) change in
      Grantor's state of organization; (7) conversion of Grantor to a new or different type of business
                                                                                                        entity; or (8) change in any other aspect of
       Grantor that directly or indirectly relates to any agreements between Grantor and Lender.
                                                                                                        No change Fin Grantor's name or state of organization will
      take effect until after Lender has received notice.

      No Violation. The execution and delivery of this Agreement will not violate any law or agreement
                                                                                                                governing Grantor or to which Grantor is a party,
      and its certificate or artides of incorporation and bylaws do not prohibit any term or condition of this
                                                                                                               Agreement.
      Enforceability of Collateral. To the extent the Collateral consists Of accounts, chattel paper,
                                                                                                           or general intangibles, as defined by tho Uniform
      Commercial Code, the Collateral is enforceable in accordance with its terms, is genuine, and fully
                                                                                                             complies with all applicable laws and regulations
      concerning form, content and manner of preparation and execution, and ail persons appearing to bo
                                                                                                                obligated on the Collateral have authority and
      capacity to contract and are in fact obligated as they appear to be on the Collateral. At the time any
                                                                                                              account becomes subject to a security interest in
      favor of Lender, the account shall be a good and valid account representing an undisputed, bona
                                                                                                         Fide indebtedness incurred fay the account debtor, for
      merchandise held subject to delivery instructions or previously shipped or delivered pursuant to a contract
                                                                                                                   of sale, or for services previously performed
      by Grantor with or for the account debtor. So long as this Agreement remains in effect. Grantor
                                                                                                             shall not, without Lender's prior written consent,
      compromise, settle, adjust, or extend payment undor or with regard to any such Accounts.
                                                                                                        There shall be no setoffs or counterclaims against any of
      the Collateral, and no agreement shall have been made under which any deductions or discounts
                                                                                                    may be claimed concerning line Collateral except
      those disclosed to Lender in writing.

      Location of the Collateral.    Except in the ordinary course of Grantor's business, Grantor agrees to keep the Collateral (or to
                                                                                                                                       the extent the Collateral
      consists of intangible property such as accounts or general intangibles, the records concerning
                                                                                                      the Collateral) at Grantor's address shown above, or at
      the location specified in the Collateral definition in this Agreement, or at such other locations as
                                                                                                           are acceptable to Lender. Upon Lender's request.
      Grantor will deliver to Lender in form satisfactory to Lender a schedule of real properties and Collateral
                                                                                                                 locations relating to Grantor's operations,
      including without limitation the following: (1) ail real property Grantor owns or is purchasing;
                                                                                                          (2)   all real property Grantor is renting or teasing;
      (3) ail storage facilities Grantor owns, rents, leases, or uses; and (4) ail other properties where
                                                                                                          Collateral is or may be located.
      Removal of the Collateral.      Except in the ordinary course of Grantor's business, including the sales of inventory, Grantor
                                                                                                                                     shall not remove the
      Collateral from its existing locations without Lenders prior written consent.       To the extent that the Collateral consists of vehicles, or other titled
      property. Grantor shall not take or permit any action which would require application for certificates
                                                                                                             of title for the vehicles outside the State of
      Washington, without lender's prior written consent.    Grantor shall, whenever requested, advise Lender of tho exact location of the Collateral.
      Transactions Involving Collateral, Except for inventory sold or accounts collected in the ordinary
                                                                                                                  course of Grantor's business, or as otherwise
      provided for in this Agreement, Grantor shall not sell, offer to sell, or otherwise transfer or dispose
                                                                                                               of the Collateral. While Grantor is not in default
      under this Agreement, Grantor may sell Inventory, but only in the ordinary course of its business
                                                                                                              and only to buyers who qualify as a buyer in the
      ordinary course of business. A sale in the ordinary course of Grantor's business does not Include
                                                                                                             a transfer in partial or total satisfaction of a debt or
      any bulk sale.    Grantor shall not pledge, mortgage, encumber or otherwise permit the Collateral to be subject
                                                                                                                                    to any lien, security Interest,
      encumbrance, or charge, other than tlie security interest provided for in this Agreement, without the
                                                                                                            prior written consent of Lender, This includes
      security interests even If junior in right to the security interests granted under this Agreement.
                                                                                                         Unless waived by Lender, all proceeds from any
      disposition of the Collateral (for whatever reason) shall be held In trust for Lender and
                                                                                                shall not bo comm ingle d with any other funds; provided
      however, this requirement shall not constitute consent by Lender to any sale or other disposition.      Upon receipt, Grantor shall immediately deliver any
      such proceeds to Lender.

      Title. Grantor represents and warrants to Lender that Grantor holds good and marketable title
                                                                                                    to the Collateral.        Grantor shall defend Lender's rights
      in the Collateral against the claims and demands of ail other persons,

      Repairs and Maintenance. Grantor agrees to keep and maintain, and to cause others to keep and
                                                                                                              maintain, the Collateral in good order, repair and
      condition at all times while this Agreement remains in effect Grantor further agrees to pay when
                                                                                                          due all claims tor work done on. or services rendered
      or material furnished in connection with the Col lateral so that no Iten or encumbrance may ever attach
                                                                                                              to or be filed against the Collateral.
      Inspection of Collateral, Lender and Lender's designated representatives and agents shall have
                                                                                                              the right at all reasonable times to examine and
      inspect the Collateral wherever located.

     Taxes, Assessments and Liens. Grantor will pay when due ail taxes, assessments and liens upon
                                                                                                                   the Collateral, its use or operation, upon this
     Agreement, upon any promissory note or notes evidencing the Indebtedness, or upon any of the
                                                                                                         other Related Documents. Grantor may withhold any
     such payment or may elect to contest any Hen if Grantor is in good faith conducting an appropriate
                                                                                                              proceeding to contest the obligation to pay and so
     long as Lender's interest in the Collateral is not Jeopardized In Lender's sole opinion. If the Collateral
                                                                                                                  is subjected to a lien which is not discharged
     within fifteen (1 5) days, Grantor shall deposit with Lender cash, a sufficient corporate surety bond or
                                                                                                               other security satisfactory to Lender in an amount
     adequate to provide for the discharge of the Hen plus any Interest, costs, attorneys' fees or other
                                                                                                         charges that coufd accrue as a result of foreclosure or
     sale of the Collateral. In any contest Grantor shall defend itself and Lender and shall satisfy any
                                                                                                            final adverse judgment before enforcement against
     the Collateral. Grantor shall name Lender as an additional obligee under any surety bond furnished
                                                                                                                    in the contest proceedings. Grantor further
     agrees to furnish Lender with evidence that such taxes, assessments, and governmental
                                                                                           and other charges have been paid tn full and In a timely
     manner. Grantor may withhold any such payment or may elect to contest any lien if Grantor is
                                                                                                          in good faith conducting an appropriate proceeding to
     contest the obligation to pay and so long as Lender's interest in the Collateral is not Jeopardized.




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        Compliance with Govern mental Requirements. Grantor shall comply promptly with all laws, ordinances, oifes and regulations of all governmental
        authorities, now or hereafter in effect, applicable to the ownership, production, disposition, or use of the Collateral, including all laws or regulations
        relating to the undue erosion of highiy-erodible land or relating to the conversion of wetlands for the production of an agricultural product
                                                                                                                                                       or commodity.
        Grantor may contest in good faith any such law, ordinance or regulation and withhold compliance during any proceeding,
                                                                                                                                               including appropriate
        appeals, so long as lenders interest in the Collateral, in Lender's opinion, is not jeopardized.
        Hazardous Substances. Grantor represents and warrants that the Collateral never has been, and never will be so long as Utile Agreement
                                                                                                                                                    remains a
        lien on the Collateral, used in violation of any Environmental Laws or for the generation, manufacture, storage, transportation, treatment,
                                                                                                                                                      disposal,
        release or threatened release of any Hazardous Substance. The representations and warranties contained herein are based
                                                                                                                                             on Grantor's due
        diligence In Investigating the Collateral for Hazardous Substances, Grantor hereby (1) releases and waives any future claims against
                                                                                                                                                   Lender for
        indemnity or contribution in the event Grantor becomes liable for cleanup or other costs under any environmental Laws, and (2) agrees to indemnify,
        defend,, and hold harmless Lender against any and all claims and losses resulting from a breach of this provision of this Agreement, This
                                                                                                                                                  obligation to
        indemnify and defend shall survive the payment of the Indebtedness end the satisfaction of this Agreement,

        Maintenance of Casualty insurance. Grantor shall procure and maintain all risks insurance, including without limitation fire,
                                                                                                                                          theft and liability
        coverage together with such other Insurance as Lender may require with respect to the Collateral, In form, amounts, coverages and basis
                                                                                                                                                reasonably
        acceptable to Lender and issued by a company or companies reasonably acceptable to Lender. Grantor, upon request
                                                                                                                                    of Lender; will deliver to
        Lender from time to time the policies or certificates of insurance In form satisfactory to Lender, including stipulations
                                                                                                                                  that coverages will not bo
        cancelled or diminished without at least thirty (30) days' prior written notice to Lender and not including any disclaimer of the insurer's liability
                                                                                                                                                              for failure
        to give such a notice. Each insurance policy also shall include an endorsement providing that coverage in favor of Lender will not
                                                                                                                                                  be impaired in any
        way by any act, omission or default of Grantor or any other person, in connection with all policies covering assets in which Lender
                                                                                                                                                  holds or is offered
        a security interest, Grantor will provide Lender with such loss payable or other endorsements as Lender may require, if Grantor
                                                                                                                                                 at any time fails to
        obtain or .maintain any insurance as required under this Agreement, Lender may (but shall not be obligated to) obtain such insurance
                                                                                                                                                   as Lender deems
        appropriate, Including If Lender so chooses "single interest insurance," which will cover only Lender's interest in the Collateral,
        Application of Insurance Proceeds. Grantor shall promptly notify Lender of any loss or damage to the Collateral exceeding one
                                                                                                                                            hundred thousand
        dollars ($100,000), whether or not such casualty or loss is covered by insurance. Lender may make proof of loss if Grantor fails
                                                                                                                                         to do so within fifteen
        (15) days of the casualty. All proceeds of any insurance on the Collateral, including accrued proceeds thereon, shall be held by
                                                                                                                                          Lender as part of the
        Collateral.     If Lender consents to repair or replacement of the damaged or destroyed Collateral, Lender shall, upon satisfactory proof
                                                                                                                                                  of expenditure,
        pay or reimburse Grantor from the proceeds for the reasonable cost of repair or restoration.          If Lender does not consent to repair or replacement of
        the Collateral, Lender shall retain a sufficient amount of the proceeds to pay all of the Indebtedness, and shall pay the
                                                                                                                                   balance to Grantor. Any
        proceeds which have not boon disbursed within six (6) months after their receipt and which Grantor lias not committed to
                                                                                                                                  the repair or restoration of
       the Collateral shall be used to prepay the Indebtedness,

       Insurance Reserves. Lender may require Grantor to maintain with Lender reserves for payment of insurance premiums, which
                                                                                                                                            reserves shall be
       created by monthly payments from Grantor of a sum estimated by Lender to be sufficient to produce, at least fifteen (15) days before
                                                                                                                                             the premium due
       date, amounts at least equal to the Insurance premiums to be paid. If fifteen (15) days before payment is due, the reserve funds
                                                                                                                                               arc insufficient,
       Grantor shall upon demand pay any deficiency to Lender. The reserve funds shall be held by Lender as a general deposit
                                                                                                                                        and shall constitute a
       non-interest-bearing account which Lender may satisfy by payment of the insurance premiums required to be paid by Grantor
                                                                                                                                        as they become due.
       Lender does not hofd the reserve funds in trust for Grantor, and Lender is not the agent of Grantor for payment of the insurance
                                                                                                                                         premium© required to
       be paid by Grantor The responsibility for the payment of premiums shall remain Grantor's sole responsibility.

       Insurance Reports, Grantor, upon request of Lender, shall furnish to Lender reports on each existing policy of insurance
                                                                                                                                showing such information
       as Lender may reasonably request including the following: (1) the name of the insurer, (2) the risks insured; (3) the
                                                                                                                                amount of the policy- (4)
       the property insured; (5) the then current value on the basis of which insurance has been obtained and the manner of
                                                                                                                              determining that value; and
       (6)   the expiration date of the policy.   In addition, Grantor shall upon request by Lender (however not more often than annually) have an independent
       appraiser satisfactory to Lender determine, as applicabte, the cash value or replacement cost of the Collateral.

       Financing Statements,         Grantor authorizes Lender to file a UCC financing statement, or alternatively, a copy of this Agreement to perfect Lender's
       security interest At Lender's request. Grantor additionally agrees to sign all other documents that are necessary to perfect,
                                                                                                                                               protect, and continue
       Lender's security interest in the Property, Grantor wilt pay all filing fees, title transfer fees, and other fees and costs involved unless
                                                                                                                                                    prohibited by law
       or unless Lender is required by law to pay such foes and costs. Grantor irrevocably appoints Lender to execute documents
                                                                                                                                 necessary to transfer title
       if there is a default Lender may file a copy of this Agreement as a financing statement. Grantor will promptly notify
                                                                                                                                Lender of any change to
       Grantor's name or the name of any individual Grantor, any individual who is a partner for a Grantor, and any individual who is
                                                                                                                                      a trustee or settlor or
       trustor for a Grantor under this Agreement Grantor will also promptly notify Lender of any change to the name that appears
                                                                                                                                      on the most recently
       issued, unexpired driver's license or state-Issued identification card, any expiration of the most recently issued driver's
                                                                                                                                   license or state-issued
       identification card for Grantor or any individual for whom Grantor is required to provide notice regarding name changes,

 GRANTOR'S RIGHT TO POSSESSION AND TO COLLECT ACCOUNTS.                             Until default and except as otherwise provided below with respect to accounts,
  Grantor may have possession of the tangible personal property and beneficial use of all the Collateral and may use
                                                                                                                     it in any lawful manner not inconsistent
 with this Agreement or the Related Documents, provided that Grantor's right to possession and beneficial use shall not
                                                                                                                        apply to any Collateral where
 possession of the Collateral by Lender is required by law to perfect Lender's security interest in such Collateral. Until otherwise notified
                                                                                                                                              by Lender, Grantor
 may coiled any of the Collateral consisting of accounts. At any time and even though r»o Event of Default exists, Lender may exercise
                                                                                                                                               Its rights to collect
 the accounts and to notify account debtors to make payments directly to Lender for application to the Indebtedness.
                                                                                                                                If Lender at any time has possession
 of any Collateral, whether before or after an Event of Default, Lender shall be deemed to have exercised reasonable care in the custody
                                                                                                                                         and preservation of
 the Collateral rf Lender takes audi action for that purpose as Grantor shall request or as Lender, in Lender's sola discretion,
                                                                                                                                 shall deem appropriate under
 the circumstances, but failure to honor any request by Grantor shall not of itself be deemed to be a failure to exercise reasonable
                                                                                                                                     care.         Lender shall not be
 required to take any steps necessary to preserve any rights in the Collateral against prior parties, nor to protect, preserve
                                                                                                                               or maintain arty security interest
 given to secure the Indebtedness.

 LENDER'S EXPENDITURES.               If any action or proceeding Is commenced that would materially affect Lender's interest in the Collateral or if Grantor falls to
 comply with any provision of this Agreement or any Related Documents, including but not limited to Grantor's failure to
                                                                                                                         discharge or pay when duo any
 amounts Grantor is required to discharge or pay under this Agreement or any Related Documents, Lender on Grantor's
                                                                                                                            behalf may (but shall not be
 obligated to) take any action that Lender deems appropriate, including but not limited to discharging or paying all
                                                                                                                         taxes, liens, security interests,
 encumbrances and other claims, at any time levied or placed on the Collateral and paying all costs for insuring, maintaining
                                                                                                                              and preserving the Collateral.
 All such expenditures incurred or paid by Lender for such purpose© will then bear interest at the rate charged under the Note
                                                                                                                               from the date incurred or paid
 by Lender to the date of repayment by Grantor- All such expenses will become a part of the Indebtedness and, at Lender's
                                                                                                                             option, will (A) be payable on
 demand;     (B)      be added to the balance of the Note and be apportioned among and be payable with any installment payments to become due during
                                                                                                                                                     either
 (1)   the term of any applicable insurance policy; or     (2)   the remaining term of the Note; or    (C)   be treated as a balloon payment which will be due and
 payable at the Note's maturity.      The Agreement also will secure payment of these amounts.        Such right shall be in addition to all other rights and remedies
 to which Lender may be entitled upon the occurrence of any Event of Default.

 DEFAULT,       Each of the following shall constitute an Event of Default under this Agreement;
       Payment Default.        Borrower fails to make any payment when due under the Indebtedness,

       Other Defaults.       Borrower or Grantor fails to comply with or to perform any other term, obligation, covenant or condition contained in Ihis Agreement
       or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained
                                                                                                                                in any other agreement
       between Lender and Borrower or Grantor,

       Default in Favor of Third Parties. Borrower, any guarantor or Grantor defaults under any Joan, extension of credit, security
                                                                                                                                    agreement, purchase or
       sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's,
                                                                                                                                         any guarantor's or
       Grantor's property or ability to perform their respective obligations under this Agreement or any of the Related Documents.

       False Statements.        Any warranty, representation or statement made or furnished to Lender by Borrower or Grantor or on Borrower's or Grantor's
       behalf under this Agreement or the Related Documents is false or misleading in any material respect, either now or at the time
                                                                                                                                      made or furnished or
       becomes false or misleading at any time thereafter.

       Defective Collateral izatlon.     This Agreement or any of the Related Documents ceases to be In full force and effect (including failure of any collateral
       document to create a valid and perfected security interest or lien) at any time and for any reason.




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       Insolvency. The dissolution or termination of Borrower's or Grantor's existence as a going business
                                                                                                              or lhe death of any partner, the insolvency of
       Borrower or Grantor, the appointment of a receiver for any part of Borrower's or Grantor's property,
                                                                                                            any assignment for the benefit of creditors, any
       type of creditor workout, or the commencement of any proceeding under any bankruptcy or insolvency
                                                                                                            laws by or against Borrower or Grantor.
       Creditor or Forfeiture Proceedings.            Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
       repossession or any other method, by any creditor of Borrower or Grantor or by any governmental
                                                                                                       agency against any collateral securing the
       Indebtedness.     This includes a garnishment of any of Borrower's or Grantor's accounts, including deposit accounts, with
                                                                                                                                  Lender.   However, this Event
       of Default shall not apply if there is a good faith dispute by Borrower or Grantor as to the validity or reasonableness
                                                                                                                               of the claim which is the basis of
       the creditor or forfeiture proceeding and if Borrower or Grantor gives Lender written notice of the creditor
                                                                                                                    or forfeiture proceeding and deposits with
       Lender monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined
                                                                                                               by Lender, in its sole discretion, as being an
       adequate reserve or bond for the dispute.

       Events Affecting Guarantor, Any of Lhe preceding events occurs with respect to any Guarantor of
                                                                                                                 any of the Indebtedness or Guarantor dies or
       becomes incompetent or revokes or disputes the validity of, or [lability under, any Guaranty of the Indebtedness.

       Adverse Change.        A material adverse change occurs in Borrower's or Grantor's financial condition, or Lender believes
                                                                                                                                  the prospect of payment or
       performance of the indebtedness is impaired.

       Insecurity.    Lender in good faith believes itself insecure.

       Cure Provisions.    If any default, other than a default in payment, is curable and if Grantor has not been given a notice
                                                                                                                                   of a breach of the same
       provision of this Agreement within the preceding twelve (12) months, it may be cured if Grantor, after
                                                                                                                  Lender sends written notice to Borrower
       demanding cure of such default: (1) cures the default within thirty (30) days; or (2) if the cure requires
                                                                                                                    more than thirty (30) days, immediately
       initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and
                                                                                                               thereafter continues and completes all reasonable
       and necessary steps sufficient to produce compliance as soon as reasonably practical.

  RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under this Agreement, at any
                                                                                                     time thereafter, Lender shall have all the rights of a
  secured party under the Washington Uniform Commercial Code. In addition and without limitation, Lender
                                                                                                         may exercise any one or more of the following
  rights and remedies:

       Accelerate Indebtedness.       Lender may declare the entire Indebtedness, including any prepaymenl penally which Borrower would
                                                                                                                                        be required to pay,
       immediately due and payable, without notice of any kind to Borrower or Grantor.
       Assemble Collateral. Lender may require Grantor to deliver to Lender all or any portion of the Collateral
                                                                                                                 and any and all certificates of title and other
       documents relating to the Collateral. Lender may require Grantor to assemble the Collateral and
                                                                                                             make it available to Lender at a place to be
       designated by Lender, Lender also shall have full power to enter upon the property of Grantor to take possession
                                                                                                                        of and remove the Collateral, If the
       Collateral contains other goods not covered by this Agreement at the time of repossession, Grantor agrees
                                                                                                                       Lender may take such other goods,
       provided that Lender makes reasonable efforts to return them to Grantor after repossession.

       Sell the Collateral. Lender shall have full power to sell, lease, transfer, or otherwise deal with
                                                                                                          lhe Collateral or proceeds thereof in Lender's own
       name or that of Grantor. Lender may soil the Collateral at public auction or private sale. Unless
                                                                                                          the Collateral threatens to decline speedily in value
       or Is of a type customarily sold on a recognized market, Lender will give Grantor, and other persons as
                                                                                                               required by law, reasonable notice of the time
       and place of any public sate, or the time after which any private sale or any other disposition of the
                                                                                                              Collateral is to be made,   However, no notice need
       be provided to any person who, after Event of Default occurs, enters into and authenticates an agreement
                                                                                                                    waiving that parson's right to notification of
       sale.   The requirements of reasonable notice shall be met if such notice is given at least ten (10) days before
                                                                                                                        the time of the sale or disposition. All
       expenses relating to Lhe disposition of the Collateral, including without limitation the expenses of retaking,
                                                                                                                      holding, insuring, preparing for sale and
       selling the Collateral, shall become a part of the Indebtedness secured by this Agreement and shall be
                                                                                                                 payable on demand, with interest at the Note
       rate from date of expenditure until repaid.

       Appoint Receiver.      Lender shall have the right to have a receiver appointed to take possession of all or any part of
                                                                                                                                the Collateral, with the power to
       protect and preserve the Collateral, to operate the Collateral preceding or pending foreclosure
                                                                                                       or sale, and to collect the rents from the Collateral and
      apply the proceeds, over and above the cost of the receivership, against the Indebtedness. The
                                                                                                           receiver may serve without bond if permitted by law.
      Lender's right to the appointment of a receiver shall exist whether or not the apparent value of the
                                                                                                           Collateral exceeds the Indebtedness by a substantial
      amount. Employment by Lender shall not disqualify a person from serving as a receiver.

      Collect Revenues, Apply Accounts.            Lender, either itself or through a receiver, may collect the payments, rents, income, and revenues from the
      Collateral.    Lender may at any time in Lender's discretion transfer any Collateral into Lenders own name or
                                                                                                                    that of Lender's nominee and receive the
      payments, rents, income, and revenues therefrom and hold the same as security for the Indebtedness
                                                                                                         or apply it to payment of the Indebtedness in
      such order of preference as Lender may determine.                 Insofar as the Collateral consists of accounts, general intangibles, Insurance policies,
      instruments, chattel paper, choses in action, or similar property, Lender may demand, collect, receipt for.
                                                                                                                  settle, compromise, adjust, sue for, foreclose,
      or realize on the Collateral as Lender may determine, whether or not Indebtedness or Collateral
                                                                                                       is then due. For these purposes, Lender may, on
      behalf of and in the name of Grantor, receive, open and dispose of mail addressed to Grantor; change
                                                                                                            any address to which mail and payments are to
      be sent; and endorse notes, chocks, drafts, money orders, documents of title, instruments
                                                                                                and items pertaining to payment, shipment, or storage of
      any Collateral,    To facilitate collection, Lender may notify account debtors and obligors on any Collateral to make payments
                                                                                                                                     directly to Lender.
      Obtain Deficiency.      If Lender chooses to sell any or all of the Collateral, Lender may obtain a judgment against Borrower
                                                                                                                                    for any deficiency remaining
      on the Indebtedness due to Lender after application of all amounts received from the exercise of the rights
                                                                                                                       provided in this Agreement.   Borrower shall
      be liable for a deficiency even if the transaction described in this subsection is a sale of accounts or chattel
                                                                                                                       paper.
      Other Rights and Remedies,          Lender shall have all the rights and remedies of a secured creditor under the provisions of the Uniform
                                                                                                                                                  Commercial
      Code, as may be amended from time to time.           In addition, Lender shall have and may exercise any or all other rights and remedies it may have
      available at law, in equity, or otherwise.

      Election of Remedies,       Except as may be prohibited by applicable law, all of Lender's rights and remedies, whether
                                                                                                                              evidenced by this Agreement,
      the Related Documents, or by any other writing, Shall be cumulative and may be exercised singularly
                                                                                                          or concurrently.           Election by Lender to pursue
      any remedy shall not exclude pursuit of any other remedy, and an election to make expenditures
                                                                                                     or to take action to perform an obligation of Grantor
      under this Agreement, after Grantor's failure to perform, shall not affect Lender's, right to declare a
                                                                                                              default and exercise its remedies.
 AFFIRMATIVE COVENANTS. Grantor covenants and warrants lhat as long as this Agreement
                                                                                      or any Related Documents remain In effect, Grantor will:
     Financial Records.       Maintain correct and accurate records of the Collateral and permit Lender lo examine, audit,
                                                                                                                           and copy such records at all
 reasonable times.

     Collateral.    Furnish Lender with schedules or lists of the Collateral, In form and substance satisfactory to Lender, as
                                                                                                                               Lender may require or request
 SURVIVAL OF REPRESENTATIONS AND WARRANTIES,                           Grantor understands and agrees that in extending Loan Advances, Lender is relying on all
 representations, warranties, and covenants mad® by Grantor In this Agreement or In any certificate
                                                                                                    or other instalment delivered by Grantor to Lender under
 this Agreement or any Related Documents.        Grantor further agrees that regardless of any investigation made by Lender, all such representations,
 warranties and covenants will survive the extension of Loan Advances and delivery to Lender of any
                                                                                                    Related Documenls. shall be continuing in nature, shall
 be deemed made and redated by Grantor at the time each Loan Advance is made, and shall remain
                                                                                                     in full force and effect until such time as Grantor's or
 Borrower's indebtedness shall be paid In full, or until this Agreement or any Related Documents
                                                                                                 shall be terminated, whichever Is the last to occur.
 JUDGMENT. Unless adequately covered by insurance In the opinion of Lender, the entry of a final
                                                                                                 judgment for the payment of money involving more than
 one hundred thousand dollars ($100,000.00) against Grantor and the failure by Grantor to discharge the
                                                                                                        same, or cause it to be discharged, or bonded off
 to Lender's satisfaction, within thirty (30) days from the date of the order, decree or process under
                                                                                                       which or pursuant to which such judgment was entered,
 shall be deemed an Event of Default hereunder and under the Related Documents.

 MISCELLANEOUS PROVISIONS.              The following miscellaneous provisions are a part of this Agreement:
      Amendments,       This Agreement, together with any Reiated Documents, constitutes the entire understanding and
                                                                                                                      agreement of the parties as to the
      matters est forth in this Agreement.   No alteration of or amendment lo this Agreement shall be effective unless given in writing and
                                                                                                                                            signed by the party
     or parties sought to be charged or bound by the alteration or amendment.

      Attorneys' Fees; Expenses.         Grantor agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys'
                                                                                                                                             fees and
      Lender's legal expenses, incurred in connection with the enforcement of this Agreement.         Lender may hire or pay someone else to help enforce this




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      Agreement and Grantor shall pay the costs and expenses of such enforcement Costs and expenses include Lender's attorneys' fees and legal
      expenses whether or not there is a lawsuit. Including attorneys' fees and legal expenses for bankruptcy proceedings (Including efforts to modify or
      vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection sen/ices.          Grantor also shall pay all court costs and
      such additional fees as may be directed by the court.

      Caption Headings.         Caption headings In this Agreement are for convenience purposes only and are not to be used to interpret or define the
      provisions of this Agreement.

      Governing Law.        This Agreement will be governed by federal taw applicable to Lender and> to the extent not preempted by federal law, the
      laws of die State of Washington without regard to its conflicts of law provisions.            This Agreement has been accepted by Lender in the State
      of Washington.

      Choice of Venue.        If there Is a lawsuit. Grantor agrees upon Lender's request to submit to the jurisdiction of the courts of Benton County, State of
      Washington,

      Joint and Several Liability. All obligations of Borrower and Grantor under this Agreement shall be joint and several, and all references to Grantor
      shall mean each and every Grantor, and all references to Borrower shall mean each and every Borrower. This means that each Borrower and
      Grantor signing below is responsible for all obligations in this Agreement,      Where any one or more of the parties is a corporation, partnership, limited
      liability company or similar entity, it is not necessary for Lender to inquire into the powers of any of the officers, directors, partners, members, or other
      agents acting or purporting to act on the entity's behalf, and any obligations made or created in reliance upon the professed exercise of such powers
      shall be guaranteed under this Agreement.

      Preference Payments. Any monies Lender pays because of an asserted preference claim in Borrower's or Grantor's bankruptcy will become a part
      of the Indebtedness and, at Lender's option, shall be payable by Borrower and Grantor as provided In this Agreement,

      No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing and signed
      by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any other right. A waiver by
      Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to demand strict compliance with that
      provision or any other provision of this Agreement,     No prior waiver by Lender, nor any course of dealing between Lender and Grantor, shall constitute
      a waiver of any of Lender's rights or of any of Grantor's obligations as to any future transactions.      Whenever the consent of Lender is required under
      this Agreement, the granting of such consent by Lender in any instance shall not constitute continuing consent to subsequent instances where such
      consent is required and in all cases such consent may be granted or withheld in the sola discration of Lender,
      Notices, Subject to applicable law, and except for notice required or allowed by law to be given In another manner, any notice required to be given
      under this Agreement shall ba given in writing, and shall be affective when actually delivered, when actually received by telefacsimile (unless otherwise
      required by law), when deposited with a nationally recognized overnight courier, or, if mailed, when deposited in the United States mail, as first class,
      certified or registered mail postage prepaid, directed to the addresses shown near the beginning of this Agreement. Any party may change its
      address for notices under this Agreement by giving formal written notice to the other parlies, specifying that the purpose of the notice is to change the
      party's address.     For notice purposes. Grantor agrees to keep Lender informed at all times of Grantor's current address.         Subject to applicable tow,
      and except for notice required or allowed by law to be given in another manner, if there is more than one Grantor, any notice given by Lender to any
      Grantor is deemed to be notice given to all Grantors.

      Power of Attorney.       Grantor thereby appoints Lender as Grantor's irrevocable attorney-in-fact for the purpose of executing any documents necessary
      to perfect, amend, or to continue the security interest granted in this Agreement or to demand termination of filings of other secured parties. Lender
      may at any time, and without further authorization from Grantor, file a carbon, photographic or other reproduction of any financing statement or of this
      Agreement for use as a financing statement.      Grantor will reimburse Lender for all expenses for the perfection and the continuation of the perfection of
      Lender's security interest in the Collateral.

      Waiver of Co-Obligor's Rights.        If more than one person is obligated for the Indebtedness, Grantor irrevocably waives, disclaims and relinquishes all
      claims against such other person which Grantor has or would otherwise have by virtue of payment of the Indebtedness or any part thereof, specifically
      Including but not limited to all rights of indemnity, contribution or exoneration.

      Severability, If a court of competent jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any circumstance,
      that Finding shall not make the offending provision illegal, invalid, or unenforceable as to any oilier circumstance. If feasible, the offending provision
      shall be considered modified so that It becomes legal, valid and enforceable. If the offending provision cannot be so modified, il shali be considered
      deleted from this Agreement.      Unless otherwise required by law. the illegality, invalidity, or unenforceability of any provision of this Agreement shall not
      affect the legality, validity or enforceability of any other provision of this Agreement

      Successors and Assigns. Subject to any limitations stated in this Agreement on transfer of Grantor's interest, this Agreement shall be binding upon
      and inure to the benefit of the parties, their successors and assigns. If ownership of the Collateral becomes vested In a person other than Grantor,
      Lender, without notice to Grantor, may deal with Grantor's successors with reference to this Agreement and the Indebtedness by way of forbearance or
      extension without releasing Grantor from the obligations of this Agreement or liability under the Indebtedness.

      Survival of Representations and Warranties, All representations, warranties, and agreements made by Grantor in this Agreement shall survive the
      execution and delivery of this Agreement, shall be continuing in nature, and shali remain in full force and effect until such time as Borrower's
      Indebtedness shall be paid in full.

      Time is of the Essence.       Time is of the essence in th© performance of this Agreement.
      Counterparts. This Agreement may be executed in multiple counterparts, each of which, when so executed, shall be deemed an original but all such
      counterparts, taken together, shall constitute one and the same Agreement.

 DEFINITIONS.        The following capitalized words and terms shall have the following meanings when used in this Agreement.           Unless specifically stated to
 the contrary, ail references to dollar amounts shall mean amounts in lawful money of th© United States of America. Words and terms used in the singular
 shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise defined in this Agreement
 shall have the meanings attributed to such terms In the Uniform Commercial Code;

     Agreement.     The word "Agreement" means this Agricultural Security Agreement, as this Agricultural Security Agreement may be amended or
     modified from time to time, together with all exhibits and schedules attached tolhis Agricultural Security Agreement from time to time.

     Borrower, The word "Borrower* means EASTERDAY FARMS; and EASTERDAY RANCHES, INC. and includes ail co-signers and co-makers
     signing the Note and all their successors and assigns.
      Collateral,    The word "Collateral" means all of Grantor's right, title end interest in and to all the Collateral as described in the Collateral Description
      section of this Agreement.

     Environmental Laws.         The words "Environmental Laws" mean any and all state, federal and local statutes, regulations and ordinances relating to the
     prelection of human health or the environ men! , including without limitation the Comprehensive Environmental Response, Compensation, and
                                                                                                                                               Liability
     Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. ("CERCLA"), the Superfund Amendments and Reauthorization Act of 1986, Pub. L No.
     99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C, Section 1801, et seq., the Resource Conservation and' Recovery Act. 42
      U.S.C. Section 6901, et seq., or other applicable state or federal laws, rules, or regulations adopted pursuant thereto.
      Event of Default.     The words "Event of Default" mean any of the events of default set forth in this Agreement In the default section of this Agreement.

     Grantor.       The word "Grantor" means EASTERDAY FARMS.
     Guarantor.       The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Indebtedness.

     Guaranty.       The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of ail or part of the Note.

      Hazardous Substances.         The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical, chemical or
     infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when improperly used, treated, stored,
     disposed of, generated, manufactured, transported or otherwise handled.          The words "Hazardous Substances" are used in their very broadest sense
     and include without limitation any and all hazardous or toxic substances, materials or waste as defined by or listed under the Environmental Laws.
     The term "Hazardous Substances" also Includes, without limitation, petroleum and petroleum by-products or any fraction thereof and asbestos.




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          Indebtedness.      The word "Indebtedness"1 means the indebtedness evidenced
                                                                                    by the Note or Related Documents, including all principal and Interest
         together with all other indebtedness and costs and expenses for
                                                                         which Borrower is responsible under this Agreement or under any
                                                                                                                                           of the Related
         Documents.     Specifically, without limitation, Indebtedness includes ail amounts that may
                                                                                                     be indirectly secured by the Cross -Cotlateraifzation provision
         of this Agreement.

         Lender.   The word "Lender* means WASHINGTON TRUST BANK, its successors
                                                                                 and assigns.
         Note.   The word "Note" means the Note dated September 3, 2020 and executed
                                                                                     by EASTERDAY FARMS; and EASTERDAY RANCHES. INC. in the
         principal amount   of $45,000,000.00, together with all renewals of, extensions of, modifications
                                                                                                           of, refinancings of, consolidations of, and substitutions
         for the note or credit agreement

         Property. The word "Property" means all of Grantor's right, title and
                                                                               interest in and to all the Property as described In the "Collateral Description"
         section of this Agreement.

         Related Documents.       The words "Related Documents* mean all promissory notes, credit agreements,
                                                                                                              loan agreements, environmental  agreements,
         guaranties, security agreements, mortgages, deeds of trust, security
                                                                                  deeds, collateral mortgages, and all other instruments, agreements
         documents, whether now or hereafter existing, executed in connection                                                                        and
                                                                              with the Indebtedness,
  BORROWER AND GRANTOR HAVE READ AND UNDERSTOOD ALL
                                                           THE PROVISIONS OF THIS AGRICULTURAL SECURITY AGREEMENT
  AGREE TO ITS TERMS. THIS AGREEMENT IS DATED SEPTEMBER                                                           AND
                                                        3, 2020.




  GRANTOR:




  EASTI

  By:
                                                                                                      By:
  CODY       EASTlRDAYf1"^ General                   Partner           of                             DEB"bY            EASTERDAY,    General         Partner    of
  EASTERDAY FARMS.
                                                                                                      EASTERDAY FARMS /                              /
                                                                                                  i
    M&L
    ALE      EASTERDAY,
  EASTERDAY FARMS
                                  General            Partner           of                             KAREN
                                                                                                      EASTERDAY FARMS
                                                                                                                        EASTERDAY,    Genoral        partner of

  BORROWER:




  EASTER©AW F,
  By:
                                                                                                    By:
  CODY       Easter!)                 fneral        Partner            of                           DEGB                fodSTERDAY,   General         Partcrer   of
  EASTE      IAY FARI
                                                                                                                RDAY FARMS

  By:                                                                                           V
  GALE
                                                                                                                 1
             EASTERDAY^          Genffrat           Partner           of                            KAREN        /EASTERDAY,          General        Pairtrw     of
  EASTERDAY FARMS
                                                                                                    EASTERDAY FARMS




  EASTERDAY                  1S/NC.
  By:                   iS
  CODY     EASTERDAY              iTdent       of   EASTERDAY
  RANCHES, INC.


                                           I        V«r. MiaOLl   Ccw, F>i»n USA   ' K7. 3Q».   M fcco* Riwvh    in a                    CfMfi |Vj




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2UCC FINANCING STATEMENT
 FOLLOW INSTRUCTIONS

 A. NAMES PHONE OF CONTACT AT FILER (optional)
                                                                                                                           Date of Filing : 09/04/2020
      Corporation Service Company800-858-5294
                                                                                                                           Time of Filing : 10:55:00 AM
 B. E-MAH CONTACT AT FILER (optional)
                                                                                                                           File Number                  : 2020-248-2584-7
      WAFLlings@tscinfo.eom

 C. SEND ACKNOWLEDGMENT TO:                       (Name and Address)
                                                                                                                           Lapse Date              : 09/04/2025

     pCorpo ration Service Company                                                                            "1
       801 Adiai Stevenson Dr
       Springfield, IL 62703
       USA
     L                                                                                                        J                      THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

 1 , DEBTOR'S NAME: Provide onfy 9HS Debtor name (1 a or lb) (ueo exact, full name; do not omit, modify, or abbreviate any pari of the Debtor's name); if any part of the individual Debtor's
     name will not fit in line tb, leave all of item 1 blank, check here   |     j and provide the individual Debtor information in item 1G of the Financing Statement Addendum (Form UCC1 Ad)

      la. ORGANIZATION'S NAME

      EASTERDAY FARMS
OR
      lb. INDIVIDUAL'S SURNAME                                                                        FIRST PERSONAL NAME                                    ADDITIONAL NAM£(S)/lNlTlAL(S)                  SUFFIX



1C. MAILING ADDRESS                                                                                   CITY                                                   STATE        POSTAL CODE                       COUNTRY

 5235 INDUSTRIAL WAY                                                                                  PASCO                                                   WA 99301                                        USA
2. DEBTOR'S NAME: Provide only ono Debtor name (2a or 2b) (use exact, full name; do nol omit, modify, or abbreviate any part of tho Debtor's name); if any part of the Individual Debtor's
     name will nol Tit in line 2b, leave all of item 2 blank, check here |       | and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1 Ad)

      2a. ORGANIZATION'S NAME


OR
      2b. INDIVIDUAL'S SURNAME                                                                    FIRST PERSONAL NAME                                        ADDITIONAL NAM£(S)fl N IT IAL(S)               SUFFIX




2c. MAILING ADDRESS                                                                               CITY                                                       STATE       POSTAL CODE                        COUNTRY




3, SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only ana Secured Party name (3a or 3b)
      3a. ORGANIZATION'S NAME

      Washington Trust Bank
OR
      3b. INDIVIDUAL'S SURNAME                                                                    FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/1NITIAL<S)                  SUFFIX



3c   MAILING ADDRESS                                                                              CITY                                                       STATE      I POSTAL CODE                       COUNTRY

 PO Box 2127                                                                                          Spokane                                                 WA 99210 2127                                  USA
4. COLLATERAL: This financing statement covers the following collateral:

 All goods, equipment, farm equipment, inventory, crops (wherever grown or stored), farm products, fixtures, accounts,
 deposit accounts, chattel paper, documents, general intangibles, instruments, investment property and letter of credit rights;
 whether any of the foregoing is now existing or hereafter raised or grown; all accessions, additions, replacements, and
 substitutions relating to any of the foregoing (including ail entitlements, rights to payment, and payments, in whatever form
 received, including but not limited to, payments under any governmental agricultural diversion programs, governmental
 agricultural assistance programs,




5. Check only if epplicetiie end check onhi one box- Collateral is |           Ihnld in a Trust (sea UCC 1 Ad. iteiri 17 and insimctions;           | i>»: T\~j ad rnin is (e re d by a Decedent's Personal Repres en Estiva
6a, Check only if applicable and check only one box:                                                                                                6b. Check only if applicable and check ontv one box;

                                                                                                  [     j A Debtor is a Transmitting Utility
     n    Public-Finance Transaction
                                              u.   Manufactured-Home Transaction

7. ALTERNATIVE DESIGNATION (if applicable):                  Lessee/Lessor                .   | Consignee/Consignor              |   | Seller.' Buyer               Bailee/Bailor                 Licensee/Licensor

8. OPTIONAL FILER REFERENCE DATA:
 :EAA6216 [197938817]

FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/1 1)                                                                               International Association of Commercial Administrators (IACA)

                                                                                              PAGE 1 OF 2                                                                                    2020-248-2584-7




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Continuation of section 4 collateral



4. This FINANCING STATEMENT covers the following collateral:



the Farm Services Agency Wheat Feed Grain Program, and any other such program of the United States
Department of Agriculture, or any other general intangibles or programs); all records of any kind relating
to any of the foregoing.




                                                       PAGE 2 OF 2                             2020-248-2684-7




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                                                                               *0235*


                                           AGRICULTURAL SECURITY AGREEMENT
      Principal             Loan Date            Maturity             Loan No                        Call t Coll              Account            Officer      Initials
   $45,000,000.00           09-03-2020         06-30-2022            750140279                                     12         EAA6216             1488

            References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.

                                           Any item above containing ****" has been omitted due to text length limitations.

  Borrower:        EASTERDAY FARMS                                                   Lender:                Washington trust bank
                   EASTERDAY RANCHES, INC.                                                                  Kennewlck Financial Center
                   5235 INDUSTRIAL WAY                                                                      3250 West Clearwater
                   PASCO, WA      99301                                                                     Kennewlck, WA 99336
                                                                                                            (800) 788-4578

  Grantor:         EASTERDAY RANCHES, INC,
                   5235 INDUSTRIAL WAY
                   PASCO. WA       99301




    THIS AGRICULTURAL SECURITY               AGREEMENT dated        September 3.        2020,   is    made and          executed   among   EASTERDAY     RANCHES,        INC.
    ("Grantor"); EASTERDAY FARMS; and EASTERDAY RANCHES, INC. ("Borrower"); and WASHINGTON TRUST BANK ("Lender").

    GRANT OF SECURITY INTEREST,              For valuable consideration, Grantor grants to Lender a security Interest In the Collateral to secure the
    Indebtedness and agrees that Lender shall have the rights stated In this Agreement with respect to the Collateral, In addition to all other rights
    which Lender may have by law.

    COLLATERAL DESCRIPTION.           The word "Collateral" as used in this Agreement means the following described property, whether now owned or hereafter
    acquired, whether now existing or hereafter arising, and wherever located, in which Grantor is giving to Lender a security interest for the payment of the
    Indebtedness and performance of all other obligations under the Note and this Agreement

         All goods, equipment, farm equipment, Inventory, fixtures, accounts, deposit accounts, chattel paper, documents, general Intangibles,
         instruments, Investment property and letter of credit rights

    The Collateral includes any and all of Grantor's present and future inventory (including consigned inventory), related equipment, goods, merchandise
                                                                                                                                                         and
    other items of personal property, no matter where located, of every type and description, including wilhout limitation any and all of Grantor's present and
    future raw materials, components, work-in-process, finished items, packing and shipping materials, containers, items held for sale, items held for lease,
    items for which Grantor is lessor, goods to be furnished under contract for services, materials used or consumed in Grantor's business, whether held by
    Grantor or by others, and ail documents of tide, warehouse receipts, bills of lading, and other documents of every type covering all or any pari of
                                                                                                                                                           the
    foregoing, and any and all additions thereto end substitutions or replacements therefor, and aft accessories, attachments, and accessions thereto, whether
    added now or later, and alt products and proceeds derived or to be derived therefrom, including without limitation all insurance proceeds and refunds of
    insurance premiums, If any, and all sums that may be due from third parties who may cause damage to any of the foregoing, or from any insurer, whether
   due to judgment, settlement or other process, and any and all present and future accounts, contract rights, chattel paper, instruments . documents, and
   notes that may be derived from the sale, lease or other disposition of any of the foregoing, and any rights of Grantor to collect or enforce payment thereof,
   as well es to enforce any guarantees of the forgoing and security therefor, and ail of Grantor's present and future general intangibles fn any way related or
    pertaining to the ownership, operation, use, or collection of any of the foregoing. Including without limitation Grantor's books, records, files, computer disks
    and software, and all rights that Grantor may have with regard thereto.   Inventory includes inventory temporarily out of Grantor's possession or custody and
    all returns on accounts, chattel paper and Instruments.

   The Collateral includes any and all of Grantor's present and future chattel paper, equipment leases, retail Installment contraeis, notes and chattel
   mortgages, notes and security agreements, instruments, documents, and all other similar obligations and indebtedness that may now and in the future
                                                                                                                                                        be
   owed to or held by Grantor from whatever source arising, and all monies and proceeds payable thereunder, and all ot Grantor's rights and remedies
                                                                                                                                                         to
   coll eel and enforce payment and performance 1 hereof, as well as to enforce any guaranties of the foregoing and security therefor, and all of Grantor's
   present and future rights, title and Interest In and with respect to the goods or other property that may give rise to or I hat may secure any of the foregoing,
   Including without limitation Grantor's insurance rights with regard thereto, and any and all present and future general intangibles of Grantor in any
                                                                                                                                                              way
   related or pertaining to any of the foregoing, including without limitation Grantor's account ledgers, books, records, files, computer disks and software,
                                                                                                                                                              end
   all rights that Grantor may have with regard thereto.

   The Collateral includes any and all of Grantor's present and future accounts,            accounts receivable,           other receivables, contract rights, instruments,
   documents, notes, and all other similar obi ig a/lions and indebtedness that may now and In the future be owed to or held by Grantor from what
                                                                                                                                                  ever source
   arising, and all monies and proceeds payable thereunder, and all of Grantor's rights and remedies to collect and enforce payment and performance thereof,
   as well as to enforce any guaranties of the foregoing and security therefor, and all of Grantor's present and future rights, title and Interest in and
                                                                                                                                                          with respect
   to the goods, services, and other property that may give rise to or that may secure any of the foregoing, including without limitation Grantor's
                                                                                                                                                            insurance
   rights with regard thereto, and aN present and future general intangibles of Grantor in any way related or pertaining to any of the foregoing, including without
   limitation Grantor's account ledgers, books, records, files, computer disks and software, and all rights that Grantor may have with regard thereto.            *
   The Collateral includes any and all of Grantor's now owned and hereafter acquired equipment, machinery, furniture, furnishings and fixtures of every type
   and description, and all accessories, attachments, accessions, substitutions, replacements and additions thereto, whether added now or later, and
                                                                                                                                                          all
   proceeds derived or to be derived therefrom, including without limitation any equipment purchased with the proceeds, and all insurance proceeds end
   refunds of Insurance premiums, if any, and any sums that may be due from third parties who may cause damage to any of the foregoing, or from
                                                                                                                                                any
   insurer, whether due to judgment, settlement or other process, and any and all present and future chattel paper, instruments, note3 and monies
                                                                                                                                                  that may be
   derived from the sale, lease or other disposition uf any of the foregoing, any rights of Grantor to collect or enforce payment thereof as well as to enforce
                                                                                                                                                                any
   guaranties of the foregoing and security therefor, and all present and future general Intangibles of Grantor in any way related or pertaining to the ownership,
   operation, or use of the foregoing, and any rights of Granlor with regard thereto.

   The Collateral includes all general intangibles, choses in action and causes of action and all other intangible personal property and rights of Grantor
                                                                                                                                                           of every
   nature and kind, now owned or hereafter acquired, Including without limitation corporate or other business records, inventions, designs, blueprints,
                                                                                                                                                             plans,
   specifications, patents, patent applications, trade marks, trade names, trade secrets, goodwill, copyrights, registrations, licenses, franchises,
                                                                                                                                                        tax refund
   claims, insurance proceeds, including without limitation Insurance covering the lives of key employees on which Grantor Is beneficiary, and any letter
                                                                                                                                                          of
   credit, guaranty, claim, security interest, or other security held or granted to Grantor to secure payment of any indebtedness.

   The Collateral includes any and all of Grantors now owned or hereafter acquired farm equipment or agricuSturai machinery, equipment, furnishings
                                                                                                                                                    and
   fixtures of every type end description, and all accessories, attachments, accessions, substitutions, replacements and additions thereto, whether added
                                                                                                                                                          now
   or later, and all proceeds derived or to be derived therefrom, including without limitation any equipment purchased with (he proceeds, and all
                                                                                                                                                  Insurance
   proceeds and refunds of insurance premiums, if any. and any sums that may be due from third parties who may cause damage to any of the foregoing,
                                                                                                                                                            or
   from any insurer, whether due to judgment, settlement cr other process, and any and all present and future accounts, chattel paper, instruments, notes
                                                                                                                                                          and
   monies that may be derived from the sale, lease or other disposition of any of the foregoing, any rights ot Grantor to collect or enforce payment
                                                                                                                                                     thereof              as
   well to enforce any guaranties of the foregoing and security therefor, and all present and future general Intangibles of Grantor In any way related! or
   pertaining to the ownership, operation, or use of the foregoing, and any rights of Grantor with regard thereto



   C ROS S-C OLL AT E RAL IZ AT ION. fn addition to the Note, this Agreement secures ail obligations, debts and liabilities, plus Interest thereon, of either
   Grantor or Borrower to Lender, or any one or more of them, as well as all claims by Lender against Sorrower and Grantor or any one or more of them,
   whether now existing or hereafter arising, whether related or unrelated to the purpose of the Note, whether voluntary or otherwise, whether due or not due,




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   direct or indirect, determined or undetermined, absolute or contingent, liquidated or unliquidated,
                                                                                                       whether Sorrower or Grantor may be liable individually or
   jointly with others, whether obligated as guarantor, surety, accommodation party or otherwise,
                                                                                                        and whether recovery upon such amounts may be or
   hereafter may become barred by any statute of limitations, and whether the obligation to
                                                                                               repay such amounts may be or hereafter may become otherwise
   unenforceable.

   BORROWER'S WAIVERS AND RESPONSIBILITIES, Except as otherwise required under
                                                                                                 thds Agreement or by applicable law, {A) Borrower agrees
   tiat Lender need not tell Borrower about any action or inaction Lender takes in connection
                                                                                              with this Agreement; (B) Borrower assumes the responsibility
   for being and! keeping Informed about the Collateral; and        (C)   Borrower waives any defenses that may arise because of any action or inaction
                                                                                                                                                        of Lander,
   including without limitation any failure of Lender to realize upon the Collateral or any
                                                                                            delay by Lender in realizing upon Ihe Collateral: and Borrower agrees
   to remain liable under the Note no matter what action Lender takes or fails to take under this
                                                                                                  Agreement
   GRANTOR'S REPRESENTATIONS AND WARRANTIES,                          Grantor warrants that    (A)    this Agreement is executed at Borrower's request and not at the
   request of Lender;     (B)   Grantor has the full right, power and authority to enter Into this Agreement and to pledge
                                                                                                                           Ihe Collateral to Lender,             (C)   Grantor
   has established adequate means of obtaining from Borrower on a continuing basis
                                                                                   information about Borrower's financial condition; and                   (D)    Lender has
   made no representation to Grantor about Borrower or Borrower's creditworthiness,
   GRANTOR'S WAIVERS, Grantor waives ail requirements of presentment, protest,
                                                                                            demand, and notice of dishonor or non-payment to Borrcwer or
   Grantor, or any other party to the Indebtedness or the Collateral. Lender may do
                                                                                         any of the following with respect to any obligation of any Borrower,
   without first obtaining the consent of Grantor: {A) grant any extension of time for any
                                                                                           payment, (B) grant any renewal, (C) permit arty modification of
   payment terms or other terms, or        (D)     exchange or release any Collateral or other security.       No such act or failure to act shall affect Lender's rights
   against Grantor or the CollateraL

   RIGHT OF SETOFF.   . . To the extent permitted by applicable law, Lender reserves a right of setoff in all
                                                                                                              Grantor's accounts with Lender (whether c hacking,
   savings, or some iother account). This includes all accounts Grantor holds Jointly
                                                                                       with someone else and all accounts Grantor may open in the future.
   However, this does not include any IRA or Keogh accounts, or any trust accounts for
                                                                                       which setoff would be prohibited by law.               Grantor authonzes Lender,
   to the extenl permitted by applicable law, to charge or setoff all sums owing on the Indebtedness
                                                                                                     against any and all such accounts, and, at Lender's option,
   to admfrwstrativeiy freeze all such accounts to allow Lender to protect Lender's charge
                                                                                           and setoff rights provided In this paragraph.
   GRANTOR'S REPRESENTATIONS AND WARRANTIES WITH RESPECT TO THE
                                                                COLLATERAL.                                           With respect to the Collateral, Grantor represents
   and promises to Lender that

       Perfection of Security Interest. Grantor agrees to lake whatever actions are requested
                                                                                                 hy Lender to perfect and continue Lender's security interest
       in the Collateral Upon request of Lender, Grantor will deliver to Lender any and all
                                                                                            of the documents evidencing or constituting the Collateral, and
       Grantor will note Lender's interest upon any and all chattel paper and instruments
                                                                                          If not delivered to Lender for possession by Lender. This Is a
       continuing Security Agreement and will continue In effect even though all or
                                                                                       any part of the Indebtedness is paid Iri full and even though for
       a period of time Borrower may not be Indebted to Lender.

       Notices to Lender, Grantor wilt promptly notify Lender In writing at Lender's
                                                                                     address shown above (or such other addresses as Lender may
       designate from time to time) prior to any (1) change in Grantor's name; (2)
                                                                                   change In Grantor's assumed business namefs); {3) change in the
       management of the Corporation Grantor;           (4)   change In the authorized signers );    (5)   change In Grantor's principal office address;    (6)    change in
       Grantor's state of organization;      (7)    conversion of Grantor to a new or different type of business entity; or        (8)    change in any other aspect of
       Grantor lhat directly or indirectly relates to any agreements between Grantor end
                                                                                         Lender,              No change in Grantor's name or state of organization will
       take effect until after Lender has received notice.

       No Violation. The execution and delivery of tNs Agreement will not violate any
                                                                                             law or agreement governing Grantor or to which Grantor is a party,
       and Hs certificate or articles of incorporation and bylaws do not prohibit any term
                                                                                           or condition of this Agreement.
       Enforce ability of Collateral,. To Ihe extent the Collateral consists of accounts,
                                                                                          chattel paper, or general Intangibles, as defined by the Uniform
       Commercial Code, the Collateral is enforceable En accordance with its terms, is
                                                                                       genuine, end fully complies with all applicable laws and regulations
       concerning form, content and manner of preparation and execution, and all persons
                                                                                         appearing to be obligated on the Collateral have authority and
       capacity to contract end ere in fact obligated as they appear to be on the Collateral,        At the time any account becomes subject to a security interest in
       favor Of Lender, the account shall be a good and valid account representing en undisputed,
                                                                                                  bona fide indebtedness incurred by the account debtor, for
       merchandise      held subject to delivery instructions or previously shipped or delivered pursuant to a
                                                                                                               contract of sale, or for a ervices previously performed
       by Grantor with or for the account debtor. So long as this Agreement remains
                                                                                       En effect, Grantor shall not, without Lender's prior written consent,
       compromise, settle, adjust, or extend payment under or with regard to any such
                                                                                      Accounts. There shall be no setoffs or counts relaima against any of
       the Collateral, end no agreement shall have been made under which any deductions
                                                                                        or discounts may be claimed concerning the Collateral except
       those disclosed to Lender in writing.

       Location of the Collateral. Except in the ordinary course of Grantor's business.
                                                                                            Grantor agrees to keep the Collateral (or to the extent the Collateral
       con slsts of Intangible property such
                                             as accounts or general intangibles, the records concerning the Collateral) at Grantor's
                                                                                                                                     address shown above, or at
       the location specified in Ihe Collateral definition in this Agreement, or at such other
                                                                                               locations as are acceptable to Lender. Upon Lender's request,
       Grantor will deliver to Lender In form satisfactory to Lender a schedule of real properties
                                                                                                   and Collateral locations relating to Grantor's operations,
       including without limitation the following; (1) all real property Grantor owns or
                                                                                           is purchasing; (2)    all real property Grantor is renting or leasing;
       (3) ali storage facilities Grantor owns, rents, leases, or uses; and (4) all other
                                                                                          properties where Col ateral is or may be located.
       Removal of the Collateral.        Except in the ordinary course of Grantor's business, Including the sales
                                                                                                                  of Inventory, Grantor shall not remove the
       Collateral from Its existing locations without Lender's prior written consent.         To the extent that Ihe Collateral consists of vehicles, or other titled
       property, Grantor shall not take or permit any action which would require application
                                                                                             for certificates of title for the vehicles outside the Slate of
       Washington,  without Lender's prior written consent        Grantor shall, whenever requested, advise Lender of the exact location of the
                                                                                                                                                Collateral.
       Transactions Involving Collateral. Except for inventory sold or accounts collected
                                                                                                  in the ordinary course of Grantor's business, or as otherwise
       provided for in this Agreement, Grantor shall not sell, offer to seft, or otherwise
                                                                                           transfer or dispose of the Collateral. While Grantor is not in default
       under this Agreement, Grantor may sell Inventory, but only in the ordinary
                                                                                  course of its business and only to buyers who qualify as a buyer in the
      ordinary course of business, A sale in the ordinary course of Grantor's business
                                                                                       does not include a transfer in partial or total satisfaction of a debt or
      any bulk sale.   Grantor shall not pledge, mortgage, encumber or otherwise permit the Collateral
                                                                                                             to be subject to any lien, security interest,
      encumbrance, or charge, other than the security Interest provided for in this
                                                                                    Agreement, without the prior written consent of Lender.                 This includes
      security interests even if junior In right to the security interests granted under
                                                                                         this Agreement,            Unless waived by Lender, all proceeds from any
      disposition of the Collateral (for whatever reason) shall be held in trust for
                                                                                     Lender arid shall not be commingled with any other funds; provided
      however, this requirement shall not constitute consent by Lender to any sale or other
                                                                                            disposition,           Upon receipt. Grantor shall immediately deliver any
      such proceeds to Lender.

      Title,   Grantor represents and warrants to Lender that Grantor holds good and marketable
                                                                                                title to the Collateral..             ,   Grantor shall defend Lender's
      rights in the Collateral against the claims and demands of ali other parsons.

      Repairs and Maintenance.          Grantor agrees to keep and maintain, and to cause others to keep and
                                                                                                             maintain, the Collateral in good order, repair
      condition at ell limes while Ibfs Agreement remains in eftecL                                                                                         and
                                                                          Grantor further agrees to pay when duo- all claims for work done on, or services
                                                                                                                                                    rendered
      or material furnished in connection with the Collateral so that no lien or encumbrance
                                                                                             may ever attach to or be filed against the Gd lateral.
      Inspection of Collateral. Lender and Lender's designated representatives and
                                                                                          agents shall have the right at all reasonable times to examine and
      inspect the Collateral wherever located.
      Taxes, Assessments and Liens.              Grantor will pay when due all taxes, assessments and liens upon the Collateral,
                                                                                                                                 Its use or operation, upon this
      Agreement, upon any promissory note or notes evidencing the Indebtedness, or
                                                                                   upon any of the other Related Documents.                   Grantor may withhold any
      such payment or may elect to contest any lien if Grantor is in good failh conducting
                                                                                           an appropriate proceeding to contest the obligation to pay and so
      long  as Lender's interest in the Collateral fa not jeopardized in Lender's sole opinion.
                                                                                                 If the Collateral Is subjected to a lien which is not discharged
      within fifteen (15) days, Grantor shall deposit with Lender cash, a sufficient corporate
                                                                                               surety bond or other security satisfactory to Lender in an amount
      adequate  to provide for Ihe discharge of the lien plus any interest, costs, attorneys' fees
                                                                                                   or other charges that could accrue as a result of foreclosure or
      sale of Ihe Collateral-    In any contest Grantor shall defend itself and Lender and shell satisfy any final adverse
                                                                                                                           judgment before enforcement against
      tho Collateral.    Grantor shall name Lender as an additional obligee under any surety band
                                                                                                  furnished in the contest proceedings.                 Grantor further
      agrees to furnish Lender with evidence that such taxes, assessments, and governmental
                                                                                            and other charges have been paid in full and In a timely
      manner.   Grantor may withhold any such payment or may elect to contest any lien if
                                                                                          Grantor Is In good faith conducting an appropriate proceeding to
      contest the obligation to pay and so long as Lender's interest in the Collateral Is not
                                                                                              jeopardized.




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          Compliance with Governmental Requirements,               Grantor shall comply promptly with all laws, ordinances, rules and regulations of all governmental
          authorities, now or hereafter sn effect, applicable to the ownership, production, disposition, or use cf the Collateral, including all laws or regulations
          relating to the undue erosion of Nghly-erodible land or relating to the conversion of wetlands for the production of an, agricultural product or commodity.
          Grantor may contest in good faith any such law, ordinance or regulation and withhold compliance during any proceeding, including appropriate
          appeals, so long as Lender's interest in the Collateral, In Lender's opinion, is not jeopardized.

          Hazardous Substances.          Grantor represents and warrants that the Collateral never has been, and never will be so long as this Agreement remains a
          Hen on the Collateral, used in violation of any Environmental Laws or for the generation, manufacture, storage, transportation, treatment, disposal,
          release or threatened release of any Hazardous Substance. The representations and warranties contained herein are based on Grantor's
                                                                                                                                                          due
          diligence in investigating the Collateral for Hazardous Substances. Grantor hereby (1) releases and waives any future claims against Lender for
          indemnity or contribution in the event Grantor becomes liable for cleanup or other costs under any Environmental Laws, and (2) agrees to indemnify,
          defend, and hold harmless Lender against any and all claims and losses resulting from a breach of this provision of this Agreement. This obligation to
          indemnify and defend shall survive the payment of the Indebtedness and the satisfaction of this Agreement.

          Maintenance of Casualty Insurance.            Grantor shall procure and maintain all risks Insurance, including without limitation fire, theft and liability
          coverage together with such ether insurance as Lender may require with respect to the Collateral, in form, amounts, coverages and basis reasonably
          acceptable to Lender and issued by a company or companies reasonably acceptable to Lender. Grantor, upon request of Lender, wiH deliver to
          Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, including stipulations that coverages will not
                                                                                                                                                                         be<
          cancelled or diminished without at least thirty (30) days' prior written notice to Lender and not inducting any disclaimer of the insurer's liability for failure
         lo give such a notice. Each insurance policy also shall include an endorsement providing that coverage In favor of Lender will not be impaired in any
         way by any act, omission or default of Grantor or any other person, in connection with all polldes covering assets in which Lender holds or is offered
          a security interest, Grantor will provide Lender with such toss payable or other endorsements as Lender may require.              If Grantor at any time fails to
         obtain or maintain any insurance as required under this Agreement, Lender may (but shall not be obligated to} obtain such ins urance as Lender deems
         appropriate, including if Lender so chooses "single interest insurance," which will cover only Lender's interest in the Collateral.

         Application of Insurance Proceeds,           Grantor shall promptly notify Lender of any loss or damage tc the Collateral exceeding one hundred thousand
         dollars ($100,000.00), whether or net such casualty or loss is covered by insurance.           Lender may make proof of loss if Grantor fails to do so wfthtn
         fifteen (15) days of the casualty.    All proceeds of any insurance on the Collateral, including accrued proceeds thereon, shall be held by Lender as part
         of the Collateral. If Lender consents to repair or replacement of the damaged or destroyed Collateral, Lender shall, upon satisfactory proof
                                                                                                                                                          of
         expenditure, pay Of reimburse Grantor from the proceeds for the reasonable cost of repair or restoration. If Lender does not consent to repair
                                                                                                                                                          or
         replacement of the Collateral, Lender shali retain a sufficient amount of the proceeds to pay alt of the Indebtedness, and shall pay the balance
                                                                                                                                                          to
         Grantor.   Any proceeds which have not been disbursed within six (6) months after their receipt and which Grantor has not committed to the
                                                                                                                                                    repair or
         restoration of the Collateral shall be used to prepay the indebtedness.

         Insurance Reserves. Lender may require Grantor to maintain with Lender reserves for payment of insurance premiums, which reserves
                                                                                                                                                      shali be
         created by monthly payments from Grantor of a sum estimated by Lender to be sufficient to produce, at least fifteen (15) days before the
                                                                                                                                                  premium due
         dote, amounts at least equal to the insurance premiums to be paid.           If fifteen (15) days before payment Is due, the reserve funds are insufficient
         Grantor shali upon demand pay any deficiency to Lender,           The reserve funds shall be held by Lender as a general deposit and shall constitute a
         non-lntercst-bearing account which Lender may satisfy by payment of the Insurance premiums required to be paid by Grantor as they become
                                                                                                                                                  due.
         Lender does not hold the reserve funds In trust for Grantor, end Lender is not the agent of Grantor for payment of the insurance premiums required
                                                                                                                                                            to
         be paid by Grantor.     The responsibility for the payment of premiums shall remain Grantor's sole responsibility.

         Insurance Reports, Grantor, upon request of Lender, shall furnish to Lender reports on each existing policy of insuiance showing such information
         as Lender may reasonably request Including the following; (1) the marine of the insurer: (2) the risks Insured; (3) the amount of the policy;
                                                                                                                                                        (4)
         the property insured;     (5)   the then currcril value on the basis of which insurance has been obtained and the manner of determining that value; and
         (6) the expiration date erf the policy. In addition. Grantor shall upon request by Lender (however not more often than annually) have an independent
         appraiser satisfactory to Lender determine, as applicable, the cash value or replacement cost of the Collateral-

         Financing Statements. Grantor authorizes Lender to file a UCG financing statement, or alternatively, a copy of this Agreement to perfect Lender's
         security interest. At Lender's request. Grantor additionally agrees tci sign all other documents that are necessary to perfect, protect, and continue
         Lender's security interest in the Property,    Grantor will pay all filing fees, title transfer fee®, and other fees and costs involved unless prohibited by law
         or unless Lender is required by law to pay such fees and costs. Grantor irrevocably appoints Lender to execute documents necessary to
                                                                                                                                               transfer title
         if there is a default. Lender may file a copy of this Agreement as a financing statement. Grantor will promptly notify Lender of any
                                                                                                                                                 change to
         Grantor's name or the name of any Individual Graitor, any individual who Is a partner for a Grantor, and any individual who is a trustee or settlor
                                                                                                                                                             or
         trustor for a Grantor under this Agreement Grantor will also promptly notify Lender of any change to the name that appears on the most recently
         issued, unexpired driver's license or state-issued identification card, any expiration of the most recently Issued driver's license or state-issued
         identification card for Grantor or any individual for whom Grantor Is required to provide notice regarding name changes.

   GRANTOR'S RIGHT TO POSSESSION AND TO COLLECT ACCOUNTS.                              Until default and except as otherwise provided below with respect to accounts,
   Grantor may have possession of the tangible personal property and beneficial use of all the Collateral and may use It in any lawful manner
                                                                                                                                              nol inconsistent
   with this Agreement or the Related Documents, provided that Grantee's right to possession and beneficial use shall not apply to any
                                                                                                                                             Collateral where
   possession of the Collateral by Lender Is required by law to perfect Lender's security interest in such Collateral.       Until otherwise notified by Lender, Grantor
   may collect any of the Collateral consisting of accounts.       At any time and even though no Event of Default exists, Lender may exercise its lights to collect
   the accounts and to notify account debtors to make payments directly to Lender for application to the Indebtedness,             If Lender at any time has possession
   of any Collateral, whether before or after an Event of Default, Lender shall be deemed to have exercised reasonable care In the custody and
                                                                                                                                               preservation of
   the Collateral if Lender takes such action for thai purpose as Grantor shall request or as Lender, in Lender's sole discretion, shall deem appropriate under
   the circumstances, but failure to lienor any request by Grantor shall not of itself be deemed to be a failure to exercise reasonable care, Lender shaft not be
   required to take any steps necessary to preserve any rights in the CoJIatcrol against prior parties, nor to protect, preserve or maintain any
                                                                                                                                                 security interest
   given to secure the Indebtedness.

   LENDER'S EXPENDITURES, if any action or proceeding is commenced that would materially affect Lender's interest In the Collateral or
                                                                                                                                          if Grantor fails to
   comply with any provision of this Agreement or any Related Documents, Including but not limited to Grantor's failure to discharge or pay
                                                                                                                                             when due any
   amounts Grantor is required to discharge or pay under this Agreement or any Related Documents, Lender on Grantor's behalf may
                                                                                                                                          (but shall not be
   obligated to) take any action that Lender deems appropriate, including but not limited to discharging or paying all taxes, liens,
                                                                                                                                         security interests,
   encumbrances and other claims, at any time levied or placed on the Collateral arid paying all costs for Insuring, maintaining and preserving the
                                                                                                                                                       CoHaterai.
   All such expenditures incurred or paid by I and or for such purposes will then bear interest at the rate charged under the Note from the date Incurred
                                                                                                                                                          or paid
   by Lender to the date of repayment by Grantor. All such expenses will become a part of the Indebtedness and, at Lender's option, will (A)
                                                                                                                                             be payable an
   demand; (B) be added to the balance of the Note and be apportioned among and be payable with any Installment payments to become
                                                                                                                                           due during either
   (1)   the lerm of any applicable insurance policy; or     (2)   the remaining term of the Note; or    (C)   be treated as a balloon payment which will be due and
   payable at the Note's maturity.       The Agreement also will secure payment of these amounts.        Such right shall be in addition to all other rights and remedies
   to which Lender may be entitled upon the occurrence of any Even l of Default

   DEFAULT.      Each of the following shall constitute an Event of Default under this Agreement:

         Payment Default.      Borrower fails to make any payment when due under the Indebtedness.

         Other Defaults. Borrower or Grantor fails to comply with or to perform any other term, obligation, covenant or condition contained in this
                                                                                                                                                    Agreement
         or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any other
                                                                                                                                                    agreement
         between Lender and Borrower nr Grantor.

         Default In Favor of Third Parties, Borrower,, any guarantor or Grantor defaults under any loan, extension of credit, security agreement, purchase
                                                                                                                                                           or
         sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's, any guarantor's
                                                                                                                                                           or
         Grantor's property or ability to perform their respective obligations under this Agreement or any of the Related Documents.

         False Statements.       Any warranty, representation or statement made or furnished to Lender by Borower or Grantor or on Borrower's or Grantor's
         bohalf under this Agreement or the Related Documents is false or misleading in any material respect, either now or at the time made or
                                                                                                                                                furnished or
         becomes false or misleading at any lime thwaafter.

         Defective Collateral Ezation.      This Agreement or any of the Rotated Documents ceases to be in full force and effect (Including failure of any collateral
         document to create a valid and perfected security Interest or Hen) at any time and for any reason.




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          Insolvency.    The dissolution or termination of Borrower's or Grantor's existence as a going business
                                                                                                                 or the death cf any partner, the insolvency of
          Borrower or Grantor, the appointment of a receiver for any part of Borrower's
                                                                                        or Grantor's property, any assignment for the benefit of creditors, any
          type of creditor workout, or the commencement of any proceeding under any bankruptcy
                                                                                               or insolvency laws by or against Borrower or Grantor.
         Creditor or Forfeiture Proceedings.           Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding,
                                                                                                                                                          self-help,
         repossession or any other method, by any creditor of Borrower or Grantor or by any
                                                                                                       governmental agency against any collateral securing She
         Indebtedness. This includes a garnishment of any of Borrower's or Grantor's accounts,
                                                                                                    including deposit accounts, with Lender. However, this Event
         of Default shall not apply if there Is a good faith dispute by Sorrower or Grantor as
                                                                                               to the validity or reasonableness of the claim which Is the basis of
         the creditor or forfeiture proceeding and if Borrower or Grantor gives Lender written
                                                                                                  notice of the creditor or forfeiture proceeding and deposits with
         Lender monies or a surety bond for the creditor or forfeiture proceeding, in an amount
                                                                                                       determined by Lender, in its sole discretion, as being an
         adequate reserve or bond for the dispute.

          Events Affecting Guarantor.       Any of the preceding events occurs with respect to any Guarantor of any cf the Indebtedness
                                                                                                                                        or Guarantor dies or
         becomes incompetent or revokes or disputes the validity of, or liability under, any
                                                                                             Guaranty of the Indebtedness.
         Adverse Change.        A material adverse change occurs in Sorrower's or Grantor's financial condition , or Lender
                                                                                                                            believes the prospect of payment or
         performance of the indebtedness is impaired.

         Insecurity.    Lender in good faith believes Itself Insecure.
         Cure Provisions. If any default, other than a default in payment, fs curable and if Grantor
                                                                                                     has not been given a notice of a breach of the same
         provision of this Agreement within the preceding twelve (12) months, it may be
                                                                                          cured if Grantor, after Lender sends written notice to Borrower
         demanding     cure of such default:   (1)   cures the default within thirty (30) days; or   (2)   if the cure requires mere than thirty (30) days, immediately
         initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the default
                                                                                                             and thereafter continues and completes all reasonable
         and necessary steps sufficient to produce compliance as soon as reasonably practical.

    RIGHTS AND REMEDIES ON DEFAULT.                  If an Event of Default occurs under this Agreement, at any time thereafter. Lender shall
                                                                                                                                              have all the rights of a
    secured party under the Washington Uniform Commercial Code,             in addition and without limitation, Lender may exercise any one or more of the
                                                                                                                                                           following
    rights and remedies:

         Accelerate Indebtedness,       Lender may declare the entire Indebtedness, including any prepayment penalty
                                                                                                                     which Borrower would be required to pay,
         immediately due and payable, without notice of any kind to Ber rower or Grantor,
         Assemble Collateral. Lender may require Grantor to deliver to Lender all or any portion
                                                                                                   of the Collateral and any and all certificates of title and other
         documents relating to the Collateral. Lender may require Grantor to assemble the
                                                                                                 Collateral and make it available to Lender at a place to be
         designated by Lender. Lender also shall have full power to enter upon the property
                                                                                             of Grantor to take possession of and remove the Collateral. If the
         Collateral contains other goods not covered by this Agreement at the time of repossession,
                                                                                                          Grantor agrees Lender may take such other goods,
         provided that Lender makes reasonable efforts to return them to Grantor after repossession

         Sell the Collateral.    Lender shall have full power to soli, lease, transfer, or otherwise deal with the Collateral
                                                                                                                              or proceeds thereof in Lender's
                                                                                                                                                            own
         name or that of Grantor. Lender may sell the Collateral at public auction or private
                                                                                              sale. Unless the Collateral threatens to decline speedily in value
         or is of a type customarily sold on a recognized market, Lender will give Grantor, and
                                                                                                othei persons as required by law, reasonable notice of the time
         and place of any public sale, or the time after which any private sain or any other disposition
                                                                                                         of the Collateral is to be made.    However, no
                                                                                                                                                  notice need
         be provided to any person who, after Event of Default occurs, enters into and
                                                                                       authenticates an agreement waiving that person's right to notificaiion of
         sale. The requirements of reasonable notice shall be met if such notice is given at least ten (10)
                                                                                                            days before die time of the sale or disposition.        All
         expenses    relating to the disposition of the Collateral, Including without limitation the expenses
                                                                                                              of retaking, holding, insuring, preparing for sale and
         selling the Collateral, shall become a part of the Indebtedness secured by this Agreement
                                                                                                   and shall be payable on demand, with interest at the Note
         ratefrom date of expenditure until repaid.

         Appoint Receiver. Lender shafl have the right to have a receiver appointed to
                                                                                            take possession of all or any part of the Collateral, with the power to
         protect and preserve the Collateral, to operate the Col lateral preceding or pending
                                                                                              foreclosure or sale, and to collect the rents from the Collateral and
         apply the proceeds, over and above the cost of the receivership, against the Indebtedness.
                                                                                                        The receiver may serve without bond if permitted by law.
         Lender's right to the appointment of a receiver shall exist whether or not the apparent
                                                                                                 value of the Collateral exceeds the Indebtedness by a substantial
         amount Employment by Lender shall not disqualify a person from serving as a receiver.

         Collect Revenues, Apply Accounts. Lender, either Els eft or through a receiver,
                                                                                              may collect the payments, rents. Income, and revenues from the
         Collateral. Lender may at eny time In Lender's discretion transfer any Collateral into Lender's
                                                                                                         own name or that of Lender's nominee and receive
                                                                                                                                                     the
         payments, rents, income, and revenues therefrom and hold the same as security for
                                                                                           the Indebtedness or apply It to payment of the Indebtedness in
         3uch order of preference as Lender may determine,               insofar as the Collateral consists cf accounts, general intangibles, insurance
                                                                                                                                                        policies,
        instruments, chattel paper, choses in action, or similar property. Lender may demand,
                                                                                                collect, receipt for, settle, compromise, adjust, sun for, foreclose,
        or realize on the Collateral as Lender may determine, whether or not Indebtedness
                                                                                                or Collateral is then duo. For these purposes, Lender may, on
        behaff of and in the name of Grantor, receive, open and dispose of mail addressed
                                                                                             to Grantor change any address to which mail and payments are to
        be sent; and endorse notes, checks, drafts, money orders, documents of title,
                                                                                         Instruments and Items pertaining to payment, shipment, or storage of
        any CoflatcreL T o facilitate collection, Lender may notify account debtors and obligors
                                                                                                  on any Collateral to make payments directly to Lend cr  "
        Obtain Deficiency. If Lender chooses In sell any or all of the Collateral, Lender
                                                                                          may obtain a judgment against Borrower for any deficiency remaining
        on the indebtedness duo to Lender after application of an amounts received from
                                                                                          the exercise of the rights provided in this Agreement, Borrower shell
        be liable tor a deficiency even if the transaction described in this subsection is a safe
                                                                                                  of accounts or chattel paper.
        Other Rights and Remedies. Lender shall have all the rights and remedies of a
                                                                                                  secured creditor under Ihe provisions of the Uniform Commercial
        Code, as may be amended from time to time.           In addition, Lender shall have and may exercise any or all other rights and
                                                                                                                                         remedies it may have
        available et law, in equity, or otherwise.

        Election of Remedies.       Except as may be prohibited by applicable law, all of Lender's rights and remedies,
                                                                                                                        whether evidenced by this Agreement,
        the Related Documents, or by any other writing, shall be cumulative and may
                                                                                    be exercised singularly or concurrently.            Election by Lender to pursue
        any remedy shall not exclude pursuit of any other remedy, and an election to make
                                                                                          expenditures ex to take action to perform an obligation of Grantor
        under this Agreement, after Grantor's failure to perform. shaU not affect Lender's right
                                                                                                 to declare a default and exercise Its remedies.
   AFFIRMATIVE COVENANTS. Grantor covenants and warrants that as long
                                                                       as this Agreement or any Related Documents remain In effect, Grantor will:
      Financial Records, Maintain correct and accurate records of the Collateral
                                                                                 and permit Lender to examine, audit, and copy such records at ali
   reasonable times.

       Collateral.   Furnish Lender with schedules cr lists of the Collateral, in form and substance satisfactory
                                                                                                                  to Lender, as Lender may require or request
   SURVIVAL OF REPRESENTATIONS AND WARRANTIES.                        Grantor understands
                                                                                       and agrees that In extending Loan Advances, Lender is relying on ail
   representations, warranties, and covenants made by Grantor In this Agreement
                                                                                or in any certificate or other Instrument delivered by Grantor to Lender under
   this Agreement or any Related Documents.          Grantor further agrees that regardless of any investigation made by Lender,
                                                                                                                                           all such representations,
   warranties and covenants will survive the extension of Loan Advances and delivery
                                                                                         to Lender of any Related Documents, shall be continuing in nature, shall
   be deemed made and redated by Grantor at the time each Loan Advance is made,
                                                                                           and shall remain in full force and effect until such time as Grantor's or
   Borrower's indebtedness shall be paid in full, or until Ihis Agreement or any Related
                                                                                         Documents shall be terminated, whichever Is the last to occur.
   JUDGMENT. Unless adiequately covered by Insurance in the opinion of Lender,
                                                                               the entry of a final judgment for the payment cf money involving   more than
   one hundred thousand dollars $100,000,00) against Grantor and the failure
                                                                             by Grantor to discharge the same, or cause it to be discharged, or bonded
                                                                                                                                                       off to
   Lender's satisfaction, within thirty (30) days from the date of the order, decree or process
                                                                                                under which or pursuant to which such judgment was entered,
   shall bo deemed an Even! of Default hereunder and under the Related Documents.
   MISCELLANEOUS PROVISIONS.             The following miscellaneous provisions are a part of this Agreement:

       Amendments. This Agreement, together with any Related Documents, constitutes
                                                                                          the entire understanding and agreement of the parties as to the
       matters set forth in this Agreement. No alteration of or amendment to this Agreement
                                                                                            shall be effective unless given in writing and signed by the party
       or parties sought to be charged or bound by the alteration or amendment

       Attorneys' Fees; Expenses.         Grantor agrees to pay upon demand all of Lender's costs and expenses,
                                                                                                                including Lender's attorneys' fees and
       Lender's legal expenses, Incurred In connection with the enforcement cf this Agreement.
                                                                                                           Lender may hire or pay someone else to help enforce this




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         Agreement, and Grantor shall pay the costs end expenses of such enforcement.
                                                                                            Costs and expenses include Lender's attorneys' fees and legal
         expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses
                                                                                                  for bankruptcy proceedings {including efforts to modify or
         vacate any automatic stay or injunction), appeals, and any anticipated post-judgment
                                                                                              collection services.Grantor also shall pay all court costs end
         such additional fees as may be directed by the court.

         Caption Headings,        Caption headings in this Agreement are for convenience purposes only and are
                                                                                                               not to be used to interpret or define the
         provisions of this Agreement.

         Governing Law,        This Agreement will be governed by federal law applicable to Lender
                                                                                                   and, to the extent not preempted by federal law, the
         laws of the State of Washington without regard to its conflicts of law provisions.
                                                                                                      This Agreement has been accepted by Lender In the State
         of Washington.

         Choice of Venue.       If there is a lawsuit. Grantor agrees upon Lender's request to submit to Ihe jurisdiction
                                                                                                                          of the courts of Benton County, State of
         Washington.

         Joint and Several Liability. All obligations of Borrower and Grantor under this Agreement
                                                                                                            shall be joint and several, and all references to Grantor
         shall mean each and every Grantor, and all references to Borrower shall mean
                                                                                                  each and every Borrower. This means that each Borrower and
         Grantor signing below is responsible for all obligations in this Agreement. Where
                                                                                                 any one or more of lite parties Is a corporation, partnership, limited
         liability company or similar entity, it is not necessary for Lender to inquire Into the powers
                                                                                                        of any of the officers, direct ore, partners, members, or other
         agents acting or purporting to act on the entity's behalf, and any obligations
                                                                                        made or created in reliance upon the professed exercise of such powers
         shall be guaranteed under this AgreemanL

         Preference Payment*. Any monies Lender pays because of an asserted preference
                                                                                                claim in Borrower's or Grantor's bankruptcy will become a part
         of the Indebtedness and, at Lender's option, shall be payable by Borrower and Grantor
                                                                                               as provided in this Agreement
         No Waiver by Lender.       Lander shall not be deemed to have waived any rights under this Agreement
                                                                                                              unless such waiver Is given in writing and signed
         by Lender.     No delay or omission on the part cf Lender in exercising any right shall operate
                                                                                                         as a waiver of such right or any other right.    A waiver
                                                                                                                                                           by
         Lender of a provision of this Agreement shall not prejudice or constitute a
                                                                                     waiver of Lender's right otherwise to demand strict compliance with that
         provision or any other provision cf this Agreement. No prior waiver by Lender, nor
                                                                                               any course of dealing between Lender and Grantor, shall constitute
         a waiver of any of Lender's rights or of any of Grantor's obligations as to any future
                                                                                                transactions, Whenever the consent of Lender is required under
         this Agreement, the granting of such consent by Lender in any instance shall not constitute
                                                                                                     continuing consent to subsequent instances where such
         consent is required and In all cases such consent may be granted or withheld in
                                                                                         the sole discretion of Lender.
         Notices.     Subject to applicable law, and except for notice required or allowed by law
                                                                                                  to be given in another manner, any notice required to be given
        under this Agreement shall be given in writing, and shall be effective when actually
                                                                                             delivered, when actually received by tel ef acsimtle (unless otherwise
        required by law), when deposited with a nationally recognized overnight courier,
                                                                                           or, if mailed, when deposited in the United Slates mail, as first class,
        certified or registered mail postage prepaid, directed to the  addresses shown near the beginning of this Agreement. Any party may change
        address for notices under this Agreement by giving formal written notice to                                                                            its
                                                                                    the other parties, specifying that the purpose of the notice Is to change the
         party's address.    For notice purposes, Grantor agrees to keep Lender informed at all times of Grantor's
                                                                                                                   cement address.         Subject to applicable
                                                                                                                                                        law,
        and except for notice required or allowed by law to be given in another manner,
                                                                                        if there is more than one Grantor, any notice given by Lender to any
        Grantor Is deemed to be notice given to all Grantors.

        Power of Attorney.       Grantor hereby appoints Lender as Grantor's irrevocable attorney-in-fact for
                                                                                                              the purpose of executing any documents necessary
        to perfect, amend, or to continue the security interest granted in this Agreement
                                                                                          or to demand termination of filings of other secured parties. Lender
        may at any time, and without further authorization from Grantor, file a carbon, photographic
                                                                                                     or other reproduction of any financing statement or of this
        Agreement for use as a financing statement.       Grantor will reimburse Lender for all expenses for the perfection and the continuation
                                                                                                                                                 of the perfection of
        Lender's security interest in the Collateral ,
        Waiver of Co-Obligor's Rights,        If more than one person is obligated fcr the Indebtedness, Grantor irrevocably
                                                                                                                             waives, disclaims and relinquishes all
        claims against such other person which Grantor has or would otherwise have
                                                                                   by virtue of payment of (he Indebtedness or any part thereof, specifically
        including but not limited to all rights of indemnity, contribution or exoneration.

        Severability,     if a court of competent jurisdiction finds any provision of this Agreement to be illegal,
                                                                                                                    invalid, cr unenforceable as to any circumstance,
        that finding shall not make the offending provision Illegal, invalid, or unenforceable
                                                                                               as to any other circumstance.      If feasible, the offending provision
        shall be considered modified so that it becomes legal, valid and enforceable. If
                                                                                          the offending provision cannot be so modified. It shall be considered
        dctoted from this Agreement, Unless otherwise required by law, Ihe illegality, invalidity,
                                                                                                   or unenforceability of any provision of this Agreement shall not
        affect the legality, validity or enforceability of any other provision of this Agreement,

        Successors and Assigns,         Subject to any limitations stated in this Agreement on transfer of Grantor's interest,
                                                                                                                               this Agreement shall be binding upon
        and inure to the benefit of the parties, their successors and assigns.
                                                                                    If ownership of the Collateral becomes vested in a person other lhan
                                                                                                                                                         Grantor,
        Lender, without notice to Grantor, may deal with Grantor's successors with reference
                                                                                             to this Agreement and the indebtedness by way of forbearance or
        extension without   releasing Grantor from the obligations of this Agreement or liability under
                                                                                                        the indebtedness.
        Survival of Representations and Warranties. All representations, warranties,
                                                                                     and agreements made by Grantor in this Agreement shall survive the
        execution and delivery of this Agreement, shall be continuing in nature,
                                                                                 and shall remain in full force and effect until such time as Borrower's
        Indebtedness shall be paid In full.

        Time is of the Essence.      Time is of the essence in the performance of this Agreement

        Counterparts. This Agreement may be executed in multiple counterparts, each
                                                                                    of which, when so executed, shall be deemed an original but ail such
        counterparts, taken together, shall constitute one and the seme Agreement

   DEFINITIONS,       The following capitalized words and twins shall have the following meanings
                                                                                                  when used in this Agreement.          Unloss specifically stated to
   the contrary, all references to dollar amounts shall mean amounts in lawful money of
                                                                                        the United Stales of America.        Words and terms used in the singular
   shall include the plural, and the plural shad Include the singular, as Ihe context
                                                                                      may require.     Words and terms not otherwise defined in fills Agreement
   shall have the meanings attributed to such terms in the Uniform Commercial
                                                                                Code;
       Agreement.       The word "Agreement" means this Agricultural Security Agreement, as
                                                                                            this Agricultural Security Agreement may be amended or
        modified from time to time, together with all exhibits and schedules attached
                                                                                      to this Agricultural Security Agreement from ti me to time.
       Borrower,      The word "Borrower" means EASTERDAY FARMS: and EASTERDAY RANCHES,
                                                                                        INC. and includes all co-signers and co-makers
       signing the Note and all their successors and assigns.

       Collateral.    The word "Collateral" means ail of Grantor's fight, title and interest In and
                                                                                                    to ail the Collateral as described in the Collateral Description
       section of this Agreement.

       Environmental Laws.        The words "Environ mental Laws" mean any and ail state, fader at arid local
                                                                                                              statutes, regulations and ordinances relating to the
       protection of human health or the environmenl, including without Bmitation
                                                                             the Comprehensive Environmental Response, Compensation, and Liability
       Act of 19S0, as amended, 42 U.S.C- Section 9601, et seq. ("CERCLA"),
                                                                            the Superfund Amendments and Reauthorization Act of 1986, Pub, L.
       99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C,                                                                 No,
                                                                                        Section 1801, et seq.. Ihe Resource Conservation and Recovery Act. 42
       U.S.C, Section 6901 , el seq., or other applicable state or federal laws, rules,
                                                                                        or regulations adopted pursuant thereto.
       Event of Default.     The words "Event of Default" mean any of the events of default set forth in this
                                                                                                              Agreement in the default section of this Agreement.
       Grantor,      The word "Grantor" means EASTERDAY RANCHES, INC..

       Guarantor.      The word "Guarantor" means any guarantor, surety, or accommodation party of
                                                                                                    any or all of the Indebtedness.
       Guaranty.      The word "Guaranty" means the guaranty from Guarantor to Lender, Including without
                                                                                                         limitation a guaranty of all of part of the Note.
       Hazardous Substances. The words "Hazardous Substances" mean materials
                                                                                         that, because of their quantity, concentration or physical, chemical or
       infectious characteristics, may cause or pose a present or potential hazard to
                                                                                      human health or the environment when improperly used, treated, stored,
       disposed of, generated, manufactured, transported or otherwise handled.
                                                                                    The words "Hazardous Substances" are used In their very broadest sense
       and Include without limitation any and all hazardous or toxic substances, materials
                                                                                           or waste as defined by or listed under the Environmental Laws.
       The term "Hazardous Substances" also includes, without limitation, petroleum
                                                                                    and petroleum by-products or any fraction thereof end asbestos.




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       Indebtedness.     The word "Indebtedness" means the indebtedness evidenced by the Note or Related
                                                                                                         Documents, Including all principal and Interest
       together with all other indebtedness and costs and expenses for which Borrower
                                                                                      is responsible under this Agreement or under any of the Related
       Documents.     Specifically, without limitation, Indebtedness includes all amounts thai may be indirectly secured
                                                                                                                         by the Cross -Collateral Ization provision
       of this Agreement.

       Lender.     The word 'Lender" means WASHINGTON TRUST BANK, its successors and assigns.

       Note.   The word "Note" means the Note dated September 3, 2020 and executed by
                                                                                      EASTER0AY FARMS; and EASTERDAY RANCHES, INC. In the
       principal amount of $45,000,000.00, together with all renewals of, extensions of, modifications
                                                                                                       of, refinancings of, consolidations of, and substitutions
       for the note or credit agreement.

       Property.    The word "Property" means all of Grantor's right, title and interest in and to all
                                                                                                       the Property as d escribed in the "Collateral Description"
       section of this Agreement,

       Related Documents.       The words "Related Documents" mean all promissory notes, credit agreements, loan
                                                                                                                 agreements, environmental agreements,
      guaranties, security agreements, mortgages, deeds of trust, security deeds,
                                                                                  collateral mortgages, and all other instruments, agreements and
      documents, whether now or hereafter existing, executed in connection with
                                                                                the Indebtedness.
   BORROWER AND GRANTOR HAVE READ AND UNDERSTOOD ALL
                                                     THE PROVISIONS OF THIS AGRICULTURAL SECURITY AGREEMENT
                                                                                                            AND
   AGREE TO ITS TERMS. THIS AGREEMENT IS DATED September 3, 2020.




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    GRANTOR:




   EASTERN              lESf INC.

   By:
   CODY" EXSTERUAY,        Pfcsidenl    of   EASTERDAY
   RANCHBS, INC.

   BORROWER:




   EAST I

   By:                                                              By:
   cody      East             General        Partner    of          DEBBY         EASTERDAY,               G                Partner   of
   EASTERDAY FARMS
                                                                   EASTER DAY^FARMS U
   By                                            -                 By:
   GALE      EASTER07(Y7      Generj^        Partn «r
                                                                                              CA
                                                        of         KAREN   EASTERDAY,                                       Partner   of
   EASTERDAY FARMS
                                                                   EASTERDAY FARMS




   EASWID,             'HR, INC.
   By:
   CODY     RASTER D        resident of EASTERDAY
   RANCHES, INC^"



                                                                 Mftrfonawtm   -Wa f.t^rwMweuVifciarC   TA-J1B71   Pfi-am




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2UCC FINANCING STATEMENT
 FOLLOW INSTRUCT EONS

  A. NAME & PHONE OF CONTACT AT FILER (optional)
                                                                                                                     Date of Filing : 09/04/2020
       Corporation Service Com p any800-8 5S-5 294
                                                                                                                     Time of Filing : 10:53:00 AM
 B. E-MAIL CONTACT AT FILER (optional)
                                                                                                                     File Number           : 2020-248-2583-0
       WAFilings@cscinfo.com
                                                                                                                     LapseDate            : 09/04/2025
 C. SEND ACKNOWLEDGMENT TO:                       (Name arid Address)


      ^Corporation Service Company                                                                       1
        801 Adlfli Stevenson Dr
        Springfield, 1L 62703
        USA
      L                                                                                                  J                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

1, DEBTOR'S NAME: Provide only aos Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
      name will not fit in line 1b, leave all o( item 1 Wank, cfieck here j      | and provide the Individual Debtor information in item 10 of ihe Financing Statement Addendum (Form UCClAd)

       la ORGANIZATIONS NAME

       EASTERDAY RANCHES, INC.
OR
       1b, INDIVIDUAL'S SURNAME                                                                 FIRST PERSONAL NAME                               ADDITIONAL NAME{S}/IN1TIAL(S)           SUFFIX



1c. MAILING ADDRESS                                                                             CITY                                              STATE     POSTAL CODE                   COUNTRY

 5235 INDUSTRIAL WAY                                                                             PASCO                                             WA 99301                                USA
2. DEBTOR'S NAME: Provide only pija Debtor name (2a or 2b) (use exact, full name; do not omit modify, or abbreviate any part of the Debtor's name); if any pari of the Individual Debtors
      name will not fit in line 2b, leave all of item 2 Wank, check here |     | and provide the Individual Debtor Information in Item 10 of the Financing Statement Addendum (Form UCOlAd)

       2a, ORGANIZATION'S NAME



OR
       2b. INDIVIDUAL'S SURNAME                                                                 FIRST PERSONAL NAME                               ADDITIONAL NAME (S)/FN IT I AL(S)       SUFFIX




2c.   MAILING ADDRESS                                                                           CITY                                              STATE     POSTAL CODE                   COUNTRY




3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only gag Secured Parly name (3a or 3b)
       3a. ORGANIZATION'S NAME

       Washington Trust Bank
OR
       3b. INDIVIDUAL'S SURNAME                                                                 FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITiAL(S)           SUFFIX



30. MAILING ADDRESS                                                                             CITY                                              STATE     POSTAL CODE                   COUNTRY

 PO Box 2127                                                                                    Spokane                                           WA 99210-2127                            USA
4. COLLATERAL: This financing statement covers the following collateral:

 All goods, equipment, farm equipment, inventory, fixtures, accounts, deposit accounts, chattel paper, documents, general
 intangibles, instruments, investment property and tetter of credit rights; whether any of the foregoing is now existing or
 hereafter raised or grown; all accessions, additions, replacements, and substitutions relating to any of the foregoing
 (including all entitlements, rights to payment, and payments, in whatever form received, including but not limited to,
 payments under any governmental agricultural diversion programs, governmental agricultural assistance programs, the
 Farm Services Agency Wheat Feed Grain




5. Check qr)ly if applicable and check onfv one box; Collateral ia            held in g Trust (sop UCClAd, itam 17 and Instructions)       being administered by a Decedent's Personal Representative

6a. Check sully i! applicable and check cnt¥ one t>ox:                                                                                    6b. Cheek only if applicable and check fluty one box:

           Public-Finance Tranaaciion

7. ALTERNATIVE DESIGNATION (if applicable):              \   |   Lessee/Lessor          j^j^Conaign^                                                   Bailee/Bailor              Licensee/Licensor

8. OPTIONAL FILER REFERENCE DATA:
 :EAA6216 [197938824]

                                                                                                                                            International Anodatroo of Commercial Administrators (1ACA)
FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04(20/11)
                                                                                            PAGE 1 OF 2                                                                      2020-248-2583-0




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Continuation or section 4 collateral



4. This FINANCING STATEMENT covers the following collateral:



Program, and any other such program of the United States Department of Agriculture, or any other
genera] intangibles or programs); all records of any kind relating to any of the foregoing.




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                         EXHIBIT C




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                                                                                            717 W Sprague Ave, Sle 1600
                                        ATT0RN6VS
1 LUKINS&ANNIS                                                                              Spokane, WA 99201-0466
                                                                                            t 509-455-9555
                                                                                            f 509-747-2323     Iukins.com




                                                                                            TREVOR R. PINCOCK
                                                                                            tpmcock©! uk ins . co m
January 26, 2021
VIA U.S. MAIL
VIA CFRTIFIFD MAIL



Easterday Ranches, Inc.                                                Debby Easterday
5235 Industrial Way                                                    830 Bellflower Road
Pasco, WA 99301                                                        Mesa, WA 99343-9564
cody@easterdavfarms.com                                                debby@easterdayfarms.com


Easterday Farms                                                        Karen Easterday
5235 Industrial Way                                                    631 Bellflower Road
Pasco, WA 99301                                                        Mesa, WA 99343-9564
cody@easterdavfarms.com
                                                                       The Estate of Gale Easterday
Cody Easterday                                                        Karen Easterday, Personal Representative
830 Bellflower Road                                                    631 Bellflower Road
Mesa, WA 99343-9564                                                    Mesa, WA 99343-9564
cody@easterdayfarms.com




Re:        Washington Trust Bank Loan No. -0279
           Notice of Default


Mr. Easterday and Mss. Easterday:


Lukins & Annis, P.S. represents Washington Trust Bank ("WTB").


On or about August 25, 2020, Easterday Ranches, Inc. and Easterday Farms, a general
partnership, executed a Promissory Note in favor of WTB evidencing a line of credit in the
amount of $45,000,000.00, and secured the line of credit by executing Agricultural Security
Agreements ("Loan -0279"). Cody Easterday, Debby Easterday, Gale Easterday, and Karen
Easterday each executed a Commercial Guaranty by which they absolutely and unconditionally
guaranteed Loan -0279.


This letter serves as notice that Easterday Ranches, Inc. and Easterday Farms are in default on
Loan -0279. The death of Gale Easterday and the lawsuit that Tyson Fresh Meats Inc. filed in
Franklin County Superior Court against Easterday Ranches Inc. are events that constitute
default under the terms of Loan -0279. The death of Mr. Easterday constitutes an event
affecting a guarantor, an event affecting a general partner, and a change in ownership; and
Tyson's lawsuit constitutes a material adverse change in financial condition and as a result of



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                      A Professional Services Corporation   Spokane J Cocur d'Atene I Moses Lake I Seattle




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the lawsuit WTB believes the prospect of payment or performance of the Promissory Note is
impaired and believes itself insecure.


As a result of the defaults, WTB reserves all rights and remedies available to it under the terms
of Loan -0279 and may immediately implement those rights and remedies.


Please let me know if you have any questions.


Best regards,




TREVOR R. PINCOCK
TRPitrp


cc:        Crane Bergdahl
           61 19 Burden Blvd., Ste. A
           PO Box 2755
           Pasco, WA 99302




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